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                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA

                                             Case No.


  ANDRE CRUZ, MITCHELL BRYON                     )    CLASS ACTION
  PAZANKI, DAYANE TESSINARI, and                 )
  FERNANDA NUNES FERREIRA,                       )    JURY TRIAL DEMANDED
  Individually and on Behalf of All Others       )
  Similarly Situated,                            )
                                                 )
                               Plaintiff,        )
                                                 )
         vs.                                     )
                                                 )
  AMERICAN HONDA MOTOR, CO., INC.,               )
                                                 )
                               Defendants.
                                                 )
                                                 )


                                 CLASS ACTION COMPLAINT

         Plaintiffs Andre Cruz Mitchell Bryon Pazanki, Dayane Tessinari, and Fernanda Nunes

  Ferreira (“Plaintiffs”), on behalf of themselves and all other similarly situated members of the

  below-defined Nationwide Class and State Class they respectively seek to represent (collectively,

  the “Class”), bring this action against Defendant AMERICAN HONDA MOTOR, CO., INC., a

  corporation, (“Honda” or “Defendant”), upon personal knowledge as to the factual allegations

  pertaining to themselves and as to all other matters upon information and belief, based upon the

  investigation made by the undersigned attorneys, as follows:




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                                       I.      INTRODUCTION

          1.      Plaintiffs bring this action individually and on behalf of a class of similarly situated

  owners and lessees of Honda CR-V (model years 2017-2019) and Honda Accord (model years

  2016-2019).

          2.      Honda is one of the most popular automobile brands in the United States. Honda’s

  success in the automobile industry is a result of its extensive and consistent marketing message

  that its vehicles are safe, reliable, and are manufactured with the highest level of quality. However,

  while continuing to tout the quality, safety and reliability of its vehicles, Honda sold and/or leased

  millions of cars that suffer from a latent defect that results in the failure of the vehicles’ ability to

  provide safe and reliable transportation to drivers.

          3.      Honda CR-V (model years 2017-2019) and Honda Accord (model years 2016-

  2019) sold and leased in the United States (the “Class Vehicles”),1 were delivered to consumers

  with an identical and inherent defect in the Class Vehicles’ design and/or manufacturing process.

          4.      Unbeknownst to consumers at the time of purchase, a latent defect known as

  parasitic draining existed in every Class Vehicle at the time the Class Vehicles left Honda’s

  possession and control. Parasitic draining occurs when electrical components in a vehicle fail to

  shut down once the vehicle is turned off, which in turn results in the continuous draining of power

  from the battery (the “Parasitic Drain Defect” or the “Defect.”).

          5.      The Parasitic Drain Defect results in the premature deterioration of the batteries in

  Class Vehicles as well as other component failures that directly impact safety and reliability. The


  1
     Plaintiffs reserve the right to amend their definition of Class Vehicles to include additional
  Honda vehicles with the same inherent defect.


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  Defect often results in drivers left stranded with vehicles that will not start, sometimes at locations

  unknown to them and in potentially dangerous situations. The Defect also creates the risk of

  vehicles shutting off, or stalling without warning, and causes safety features such as emergency

  hazard lights and headlights to fail.

            6.   Despite possessing exclusive knowledge of the Parasitic Drain Defect and the

  potential consequences that could occur as a result of the Defect at all relevant times, Honda

  repeatedly failed to disclose and instead actively concealed the Defect from Class members and

  the public, and continued to market and advertise the quality, safety and reliability of Class

  Vehicles.

            7.   At the time of sale or lease of all Class Vehicles, Honda had exclusive knowledge

  of, and had been in exclusive possession of, information pertaining to the Defect, which was

  material to Plaintiffs and Class members, and thus had a duty to disclose the latent Defect at the

  point of sale or lease of the Class Vehicles. Instead, Honda concealed the Defect and failed to

  warn consumers of the common consequences that they would likely suffer as a result of the

  Parasitic Drain Defect. Additionally, Honda failed to offer a permanent and reliable repair of the

  Defect.

            8.   Honda knew that it did not have an effective remedy to cure the Defect and the

  problems it caused, and once again did not disclose this to consumers. Instead, Honda employed

  the use of temporary fix solutions such as replacing dead batteries and updating the internal

  software of the Class Vehicles, actions that Honda knew did not remedy the Defect or make the

  Class Vehicles safe and reliable for consumers.




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         9.      As a result of the Parasitic Drain Defect, and as discussed in more detail herein,

  owners and lessees of Class Vehicles have reported a result of the spending money on repairs and

  other expenses such as roadside assistance when their vehicles were inoperable, jumper cable

  packs to use when the Defect has depleted the vehicle’s battery, and battery chargers to ensure that

  their vehicles will start when needed.

         10.     Further, the Defect substantially decreases the value of the Class Vehicles as there

  is no permanent or reliable solution that renders the Class Vehicles, safe, reliable and of the highest

  quality as touted by Honda.

         11.     As a direct and proximate result of Honda’s concealment of, and failure to disclose,

  the Parasitic Drain Defect, Plaintiffs and Class members: (1) overpaid for the Class Vehicles

  because the Defect significantly diminishes the value of the Vehicles; (2) have Vehicles that suffer

  component degradation; (3) have paid hundreds of dollars for repairs that do not provide a

  permanent or reliable solution to the Defect; and (4) are unable to have their Vehicles adequately

  repaired.

         12.     As a result of Defendant’s conduct, Class Vehicle owners and lessees have been

  deprived of the benefit of their bargain. Plaintiffs and Class members have purchased and leased

  Class Vehicles that they would not otherwise have purchased or leased, or would have paid less

  for, had they known of the Defect at the point of sale. Plaintiffs and Class members have

  consequently suffered ascertainable losses and actual damages as a result of Honda’s unlawful

  conduct. Accordingly, Plaintiffs and Class members seek actual and/or compensatory damages,

  including equitable relief seeking, inter alia, an order that the Class Vehicles are defective and

  injunctive relief preventing Honda from continuing its wrongful conduct, as alleged herein.


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                                        II.         JURISDICTION

         13.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(d), because

  at least one Class member is of diverse citizenship from Honda, there are more than 100 Class

  members nationwide, and the aggregate amount in controversy exceeds $5,000,000, exclusive of

  costs and interest.

         14.     The Court has personal jurisdiction over Honda because Honda has purposefully

  availed itself of the privilege of conducting business activities in the State of Florida.

                                              III.     VENUE

         15.     Venue is proper in this District, pursuant to 28 U.S.C. §1391, because a substantial

  part of the acts or omissions giving rise to the claims brought herein occurred or emanated within

  this District, Honda has marketed, advertised, sold, and leased the Class Vehicles in this District,

  and Honda has caused harm to one or more Plaintiffs residing in this District.

                                              IV.     PARTIES

         A.      Plaintiffs

                 1.      Andre Cruz

         16.     Plaintiff Andre Cruz (“Plaintiff Cruz”) is a citizen of Florida and resides in

  Deerfield Beach, Florida. Plaintiff Cruz leased a 2016 Honda Accord in June 2016 from Hendrick

  Honda Pompano Beach, an authorized Honda dealer in Pompano Beach, Florida. Plaintiff Cruz’s

  class vehicle was covered by a written warranty. When shopping for his Class Vehicle, Plaintiff

  Cruz researched and considered the reliability and quality of the make and manufacturer, including

  Honda’s warranty. Prior to leasing the Class Vehicle, Plaintiff Cruz heard, viewed, and/or read

  Honda marketing materials and advertisements including brochures, commercials, internet



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  advertisements as well as emails from Honda with lease offers that touted the quality, reliability

  and safety of Honda vehicles.

         17.     Plaintiff Cruz relied on the information regarding the quality, safety, and reliability

  of the Class Vehicle conveyed in those marketing materials and advertisements in deciding to lease

  his Vehicle. Honda failed to disclose the parasitic drain Defect to Plaintiff Cruz before he leased

  his Class Vehicle, despite Honda’s knowledge of the Defect, and Plaintiff Cruz, therefore, leased

  his Vehicle on the reasonable, but mistaken, belief that it would be a high quality and reliable and

  safe vehicle. Plaintiff Cruz would not have leased the Class Vehicle, or would not have paid as

  much for it, had he known the vehicle had a Defect that could drain the battery and leave him

  stranded without warning.

         18.     After leasing the vehicle, Plaintiff Cruz experienced issues as a result of the

  Parasitic Drain Defect in which the battery died and required a jump at least three times. After

  experiencing this multiple times, Plaintiff Cruz knew something was not right as a new car should

  not experience this issue so often. After experiencing a dead battery for the third time, Plaintiff

  Cruz brought his vehicle to Hendrick Honda to address the issue. After performing a “load test,”

  Honda replaced the battery in his vehicle. Because the replacement battery does not resolve the

  Parasitic Drain Defect, Plaintiff Cruz has been left with a vehicle that he knows could have battery

  failure at any time and without warning and thus does not have a vehicle that is safe or reliable as

  advertised by Honda.

                 2.      Mitchell Bryon Pazanski

         19.     Plaintiff Mitchell Bryon Pazanki (“Plaintiff Pazanski”) is a citizen of Florida and

  resides in Jupiter, Florida. Plaintiff Pazanski purchased a 2018 Honda Accord in 2020 from Delray



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  Honda, an authorized Honda dealer in Delray Beach, Florida. Plaintiff Pazanski’s class vehicle

  was covered by a written warranty. When shopping for his Class Vehicle, Plaintiff Pazanski

  researched and considered the reliability and quality of the make and manufacturer, including

  Honda’s warranty. Prior to purchasing the Class Vehicle, Plaintiff Pazanski heard, viewed, and/or

  read Honda marketing materials and advertisements including brochures, commercials, and

  internet advertisements that touted the quality, reliability and safety of Honda vehicles.

         20.     Plaintiff Pazanski relied on the information regarding the quality, safety, and

  reliability of the Class Vehicle conveyed in those marketing materials and advertisements in

  deciding to purchase his Vehicle. Honda failed to disclose the Parasitic Drain Defect to Plaintiff

  Pazanski before he purchased his Class Vehicle, despite Honda’s knowledge of the Defect, and

  Plaintiff Pazanski, therefore, purchased his Vehicle on the reasonable, but mistaken, belief that it

  would be a high quality and reliable and safe vehicle. Plaintiff Pazanski would not have purchased

  the Class Vehicle, or would not have paid as much for it, had he known the vehicle had a Defect

  that could drain the battery and leave him stranded without warning.

                 3.      Dayane Tessinari

         21.     Plaintiff Dayane Tessinari (“Plaintiff Tessinari”) is a citizen of Florida and resides

  in Pompano Beach, Florida. Plaintiff Tessinari purchased a 2019 Honda Accord in July 2019 from

  Hendrick Honda Pompano Beach, an authorized Honda dealer in Pompano Beach, Florida.

  Plaintiff Tessinari’s class vehicle was covered by a written warranty. When shopping for her Class

  Vehicle, Plaintiff Tessinari researched and considered the reliability and quality of the make and

  manufacturer, including Honda’s warranty. Prior to purchasing the Class Vehicle, Plaintiff




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  Tessinari heard, viewed, and/or read Honda marketing materials and advertisements including

  commercials and internet advertisements that touted the reliability and safety of Honda vehicles.

         22.     Plaintiff Tessinari relied on the information regarding the quality, safety, and

  reliability of the Class Vehicle conveyed in those marketing materials and advertisements in

  deciding to purchase her Vehicle. Honda failed to disclose the parasitic drain Defect to Plaintiff

  Tessinari before she purchased her Class Vehicle, despite Honda’s knowledge of the Defect, and

  Plaintiff Tessinari, therefore, purchased her Vehicle on the reasonable, but mistaken, belief that it

  would be a high quality and reliable and safe vehicle. Plaintiff Tessinari would not have purchased

  the Class Vehicle, or would not have paid as much for it, had she known the vehicle had a Defect

  that could drain the battery and leave her stranded without warning.

                 4.      Fernanda Nunes Ferreira

         23.     Plaintiff Fernanda Nunes Ferreira (“Plaintiff Ferreira”) is a citizen of Florida and

  resides in Pompano Beach, Florida. Plaintiff Ferreira purchased a 2017 Honda CR-V in December

  2017 from Hendrick Honda Pompano Beach, an authorized Honda dealer in Pompano Beach,

  Florida. Plaintiff Ferreira’s class vehicle was covered by a written warranty. When shopping for

  her Class Vehicle, Plaintiff Ferreira researched and considered the reliability and quality of the

  make and manufacturer, including Honda’s warranty. Prior to purchasing the Class Vehicle,

  Plaintiff Ferreira heard, viewed, and/or read Honda marketing materials and advertisements

  including commercials and internet advertisements that touted the quality, reliability and safety of

  Honda vehicles.

         24.     Plaintiff Ferreira relied on the information regarding the quality, safety, and

  reliability of the Class Vehicle conveyed in those marketing materials and advertisements in



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  deciding to purchase her Vehicle. Honda failed to disclose the parasitic drain Defect to Plaintiff

  Ferreira before she purchased her Class Vehicle, despite Honda’s knowledge of the Defect, and

  Plaintiff Ferreira, therefore, purchased her Vehicle on the reasonable, but mistaken, belief that it

  would be a high quality and reliable and safe vehicle. Plaintiff Ferreira would not have purchased

  the Class Vehicle, or would not have paid as much for it, had she known the vehicle had a Defect

  that could drain the battery and leave her stranded without warning.

         25.     After purchasing her vehicle, Plaintiff Ferreira experienced issues with her

  vehicle’s battery. As a result of the Parasitic Drain Defect, Plaintiff Ferreira’s vehicle would not

  start after being turned off and had to jump her vehicle in order to operate the vehicle. After she

  experienced a dead battery, she took the vehicle to Hendrick Honda where they replaced the

  vehicle’s battery. Because the replacement battery does not resolve the Parasitic Drain Defect,

  Plaintiff Ferreira has been left with a vehicle that is not safe or reliable as advertised by Honda.

         B.      Defendant

                 1.      American Honda Motor Company

         26.     Defendant American Honda Motor Company, Inc. is incorporated in California

  with its principal place of business in Torrance, California. American Honda is the wholly owned

  North American subsidiary of Honda Motor Company Limited (“HML”), a Japanese corporation.

  Honda began operations in 1959 and is now responsible for sales, marketing, service, distribution,

  import and export of Honda and Acura products in the U.S.

         27.     At its California headquarters, Honda combines sales, service, and coordinating

  functions for HML in North America, and is responsible for the manufacture, distribution,

  marketing, sales, and servicing of Honda vehicles in the U.S. The decisions regarding the



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   marketing and sale of the Class Vehicles, the development of the internal technical service

   bulletins relating to the parasitic draw Defect in the Class Vehicles, and decisions regarding the

   disclosure or non-disclosure of the Defect were in whole or substantial part made by Honda at its

   California headquarters. Additionally, Honda’s warranty and customer service departments for

   Honda vehicle owners and lessees are operated from the Torrance headquarters.

                                     V.      FACTUAL ALLEGATIONS

           A.         Honda’s Advertisement of Class Vehicles Centered on Quality, Safety
                      & Reliability

           28.        Honda has become one of the most popular automobile brands in the United States

   as a result of its extensive and consistent marketing focused upon the quality, safety, and reliability

   of its vehicles.

           29.        Honda’s claims of excellence in quality, design, safety, and reliability are consistent

   themes in its promotional materials.

           30.        In fact, Honda has an entire section on its website entitled “safety,” where Honda

   touts the safety of its vehicles.

           31.        On its website, Honda states “Honda is a mobility company – we move people.

   But, for us, safety is an enormous priority. We don’t just want to move you; we want to move you

   safely.”

           32.        Honda also touts that “Maximizing safety in our vehicles means knowing what to

   expect when the unexpected happens.”2




   2
       Safety, HONDA, https://www.honda.com/safety (last visited May 24, 2021).


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          33.     The website goes on to say “This kind of flexibility and affordability allows Honda

   to make the road safer for everybody on it by engineering for worst case scenarios in an

   unprecedented way.”3

          34.     Honda touted its focus on safety on its Facebook page as well, stating that “[t]he

   future of mobility is all about human connectivity and increased safety.”4

          35.     On September 20, 2019, Honda issued a press release discussing “the automaker’s

   deep-rooted and ongoing commitment to safety” and describing Honda’s new “Safety for

   Everyone” campaign. Honda explains that “‘Safety for Everyone’ represents Honda’s unique

   approach to safety – that everyone sharing the road should be able to safely and confidently enjoy

   the freedom of mobility.”

          36.     Honda echoed its message regarding the quality, reliability, and safety of its

   vehicles in the marketing materials specific to the Class Vehicles.

          37.     The brochure for the 2016 Honda Accord touts the vehicle’s safety and reliability,

   claiming that it is “Helping protect precious cargo” and that its “Convenient features make driving

   a simpler task” and that its “suite of safety and driver-assistive technologies help free you to enjoy

   your driving experience.” One of the main slogans on the brochure tells drivers to “Boldly go.”5




   3
      Safety, Virtual & Real-World Tests, HONDA, https://www.honda.com/safety/virtual-and-real-
   world-tests (last visited May 24, 2021).
   4
       Honda, FACEBOOK,         https://www.facebook.com/Honda/posts/10154964080719275              (last
   visited May 24, 2021).
   5
      Honda           Accord          2016        Brochure,          https://www.auto-
   brochures.com/makes/Honda/Accord/Honda_US%20Accord_2016.pdf (last visited May 24,
   2021).


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          38.     Honda advertised the 2017 Honda Accord as “a legend in its time” and stated that

   “Every Accord is equipped with advanced safety features designed to help you and your passenger,

   mile after mile.” Once again, Honda claimed that the vehicle “makes driving a simpler, more

   enjoyable task.”6

          39.     On Facebook, Honda stated that “[s]afety and driver-assistive Honda Sensing™

   technology comes standard in the sleek 2017 #AccordHybrid.”7

          40.     In its brochure for the 2018 Accord, Honda describes the vehicle as “[t]he most

   impressive Honda ever” and touted the vehicle’s reliability by stating that it was “[b]uilt for what-

   if” and that it is “[a]t the forefront of safety.” Honda stated that “[e]very model comes standard

   with advanced safety features to assist and help protect you and your most precious cargo.”8

          41.     In an advertisement for the 2018 Accord, Honda focuses on the safety of the

   vehicles by showing off its many safety features and describes the vehicle as the “most impressive

   Honda ever.”

          42.     The brochure for the 2019 Accord touts the vehicle’s safety and reliability by

   stating: “[w]hen you’re always making moves, you need a car that can keep up. Whether you’re




   6
      Honda            Accord         2017        Brochure           https://www.auto-
   brochures.com/makes/Honda/Accord/Honda_US%20Accord_2017.pdf (last visited May 24,
   2021).
   7
       Honda                               Photos,                           FACEBOOK,
   https://www.facebook.com/Honda/photos/a.191101529274/10154827307769275/ (last visited
   May 24, 2021).
   8
      Honda           2018          Accord        Brochure,          https://www.auto-
   brochures.com/makes/Honda/Accord/Honda_US%20Accord_2018.pdf (last visited May 24,
   2021).


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   getting away for the weekend or getting to the office early, don’t just show up, show them who’s

   boss” and “[w]hether you’re driving or sitting in the passenger seat, feel confident in the latest in

   safety innovation from Honda.”9

          43.     In a TV commercial for the 2019 Accord entitled “Protect Life’s Moments,” Honda

   touts the safety of the vehicles by stating “2019 Accord Keeping Your Moments Safe.”10

          44.     In another advertisement for the 2019 Accord, Honda touts the vehicle as a “sweet

   ride with a suite of high tech safety features” and then features a woman describing the car as

   “safe, reliable, fun, feisty, and most importantly it has the technology of a beast.”11

          45.     Honda similarly touted the quality, safety and reliability of the CR-V despite

   knowledge that these vehicles suffered from the same inherent Defect.

          46.     In the brochure for the 2017 CR-V, Honda touted that “[t]he bar has been raised,

   again” and described the CR-V as “a vehicle designed for a superior driving experience,” and one

   that “makes for better exploration of the roads ahead.” Honda claims that the car has “a wealth of




   9
      Honda 2019 Accord Brochure,                 https://www.daltshondaorillia.com/pdf/2019-honda-
   accord.pdf (last visited May 24, 2021).
   10
       2019 Honda Accord TV Commercial, ‘Protect Life’s Moments’ [T2], ISPOT.TV,
   https://www.ispot.tv/ad/ZMOA/2019-honda-accord-protect-lifes-moments-t2 (last visited May
   24, 2021).
   11
       2019 Honda Accord TV Commercial, ‘Ask Anyone: Favorite Tech’ [T2], ISPOT.TV,
   https://www.ispot.tv/ad/Iuab/2019-honda-accord-ask-anyone-favorite-tech-t2 (last visited May
   24, 2021).


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   standard features and driver and passenger conveniences” and “delivers more comforts and

   conveniences than ever.”12

              47.   Despite the presence of the Defect in the vehicle, Honda touted the CR-V’s

   reliability with the slogan: “Because no matter where you’re going, there’s always more to do,

   more to see, and more to experience – every day.”13

              48.   Further, Honda stated that the vehicle provides “a stand-out experience” because

   “[e]very surface, every contour, and every feature has been thoughtfully designed to create a truly

   superior driving experience in every sense” and tells drivers they can “commute with

   confidence.”14

              49.   Honda similarly touted the 2018 CR-V as a safe and reliable vehicle. In the

   brochure for the vehicle, Honda states that it “[s]et the bar high,” and while highlighting the

   vehicle’s many safety features, Honda again tells drivers they can expect to “[c]ommute with

   confidence” and that there is “[e]xcellence in every detail.”15

              50.   The 2019 CR-V was promoted also by Honda as a reliable vehicle with the slogan

   “Enhance Every Day,” “Monday” through “Sunday[,] [p]eace of mind, from here to everywhere.”




   12
      Honda 2017 CR-V Brochure, https://www.auto-brochures.com/makes/Honda/CR-
   V/Honda_US%20CR-V_2017.pdf (last visited May 24, 2021).
   13
        Id.
   14
        Id.
   15
      Honda 2018 CR-V Brochure, https://www.auto-brochures.com/makes/Honda/CR-
   V/Honda_US%20CR-V_2018.pdf (last visited May 24, 2021).


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             51.   In the brochure for the 2019 CR-V, Honda stated “[w]hen you do it all, it helps to

   have a car that does as well.” Honda continues to tout the vehicle’s safety by stating “[w]ith

   intuitive technology and design, we’ve created a way forward that we can all feel good about.

   Whether you’re driving or sitting in the passenger seat, feel confident in the latest in safety and

   innovation from Honda.”16

             52.   Honda’s marketing of Class Vehicles touting the safety and reliability of the

   vehicles was an enormous success.

             53.   Honda sold approximately 378,600 CRVs in the U.S. in 2017, 379,021 in 2018,

   384,168 in 2019, and 323,502 in 2020.17 Honda sold approximately 322,655 Accords in 2017,

   291,071 in 2018, 267,567 in 2019, and 199,458 in 2020.18

             54.   Altogether, Honda has sold and leased millions of Class Vehicles which suffer from

   a serious Parasitic Drain Defect. And, despite possessing knowledge of the Defect, Honda

   provided no warning to drivers of the Defect or the consequences that were likely to occur as a

   result.




   16
       Honda 2019 CR-V Brochure, https://www.daltshondaorillia.com/pdf/2019-honda-crv.pdf (last
   visited May 24, 2021).
   17
       Honda CR-V – US Sales Figures, GOODCARBADCAR, https://www.goodcarbadcar.net/honda-
   cr-v-sales-figures/ (last visited May 24, 2021).
   18
       Honda      Accord        –       US        Sales        Figures,       GOODCARBADCAR,
   https://www.goodcarbadcar.net/honda-accord-sales-figures/ (last visited May 24, 2021).


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           B.      The Latent Parasitic Drain Defect Existed in Every Class Vehicle

           55.     Honda has knowingly sold and leased millions of Class Vehicles that suffer from a

   serious Parasitic Drain Defect. All of the Class Vehicles at issue suffer from the same Defect and

   can easily be identified by their make and model year.

           56.     When a vehicle is turned off, all of its electrical components (include many of a

   vehicle’s safety features such as hazard lights and headlights) are powered by the vehicle’s battery.

   When a car is running on the other hand, these electrical components are powered by the vehicle’s

   alternator, which charges the vehicles’ battery as the car runs.

           57.     Because the only source of power available when a vehicle is turned off comes from

   its battery, vehicles rely on electricity stored in its battery to start the engine as well as to operate

   many of the vehicle’s safety features while the vehicle is turned off, including the hazard and head

   lights mentioned above, as well as door locks, interior lights, and internal diagnostic computer

   systems.

           58.     A typical vehicle without the parasitic draining Defect contained in Class Vehicles,

   usually has enough electricity stored in its battery to start the vehicle and power these emergency

   features when needed.

           59.     Once the engine is started, the alternator takes over as the power source and begins

   to charge the battery and replenish the amount of electricity stored in a battery for use of these

   features when the vehicle is turned off.

           60.     If the battery is drained of its stored electricity as a result of a parasitic drain Defect

   as contained in Class Vehicles, the vehicle’s engine will not turn on. Thus, the alternator cannot

   take over the power of these safety features or charge the battery for future use.



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           61.     Repeated draining of a vehicle’s battery progressively weakens a battery until

   ultimately the battery fails and needs to be replaced. Even prior to complete failure of a battery,

   excessive draining can cause electrical components of the vehicle such as hazard lights, headlights,

   and taillights to fail without warning, including when the vehicle is being driven.

           62.     When a vehicle contains a parasitic draining defect such as the Defect contained in

   Class Vehicles that repeatedly results in depleted batteries, the alternator is then forced to replenish

   the battery’s power at a higher rate than usual, progressively reducing the amount of power

   generated by the alternator over time, until it too ultimately fails. As the alternator’s ability to

   generate power degrades, there is an increased risk that the vehicle’s engine will unexpectedly stall

   while the car is being operated.

           63.     Batteries used in vehicles today are estimated to last approximately six years or

   more, so long as the battery is not subject to excessive parasitic draining (as Class Vehicles were

   subject to as a result of the Defect).

           64.     All of the Class Vehicles suffer from a Defect that continuously draws power from

   and ultimately drains the vehicle’s battery at an unusually high rate resulting in the frequent need

   to be jump-started and/ or the need to replace the vehicle’s battery much earlier and more often

   than in a vehicle that does not have the Parasitic Drain Defect.

           65.     Additionally, as a result of the Defect, Class Vehicles are at increased risk of

   stalling while being driven and put higher levels of stress on the vehicle’s alternator which in turn

   increases the risk that the alternator will need to be replaced.




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          66.     Moreover, due to the Defect, Class Vehicles are at an increased risk that many of

   its safety features will fail at a time when its driver will need them the most, when the engine is

   inoperable.

          67.     Owners and lessees will continue to be faced with the ongoing inconvenience and

   expense of replacement parts and repair fees, emergency roadside assistance, towing, and the need

   to find alternative transportation until Honda provides a permanent and reliable solution to the

   Parasitic Drain Defect.

          C.      The Defect is a Safety Hazzard

          68.     The Defect contained in Class Vehicles not only renders the vehicles inoperable

   when the battery is depleted, but also poses substantial safety hazards to drivers.

          69.     When the battery fails as a result of the Defect, drivers cannot start the car and are

   left stranded. This can occur at any time and without any warning, and could leave the driver

   stranded in an unfamiliar or unsafe area, in an area where roadside assistance is not readily

   available, or in other dangerous circumstances such as inclement weather.

          70.     Additionally, when the battery fails as a result of the Defect, none of the vehicle’s

   electrical components are operable, which means that many safety features in the Class Vehicles

   that rely on power cannot be used. This includes the vehicle’s hazard lights, which are designed

   specifically to be used in situations where the vehicle becomes inoperable in order to increase the

   safety of the driver and inform others on the road that the driver is in need of assistance.

          71.     Other electrical components of the car will too fail when the battery is depleted as

   a result of the Defect, such as car locks and windows. If the car is locked at the time the battery

   fails, drivers may not be able to open their cars which could pose additional problems for the driver



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   if they have left their phone or wallet in the car and may leave a driver in a situation where he or

   she is unable to call for assistance. If a window is left down in the car, the driver will not be able

   to close it if it begins to rain or snow and would not be able to protect him or herself or the inside

   of the vehicle from inclement weather.

          72.     There are also safety hazards associated with the increased amount of stress placed

   on the Class Vehicle’s alternator as a result of the Defect, which leaves drivers at an increased risk

   of stalling while operating their vehicles.

          73.     Additionally, excessive draining can cause electrical components of the vehicle

   such as headlights and taillights to fail even when the vehicle is being driven. Both of these

   scenarios put the driver at a much higher risk of getting into an accident.

          74.     All of these issues could occur without warning as a result of the Parasitic Drain

   Defect, and pose significant safety hazards to drivers.

          D.      Honda Possessed Exclusive Knowledge of the Parasitic Drain Defect

          75.     On information and belief, Defendant was aware of the Defect and the risk it posed

   to Class Vehicle owners and lessees, through but not limited to: (1) Defendant’s pre-sale testing;

   (2) National Highway Traffic Safety Administration (“NHTSA”) complaints and notices; (3)

   consumer complaints posted on the internet; (4) consumer complaints made directly to Honda’s

   customer service division; (5) dealership repair records and replacement parts sales data; and (6)

   warranty and post-warranty claims.




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                     1.      Pre-sale Testing

              76.    As an experienced and sophisticated car manufacturer, Honda conducts tests,

   including pre-sale durability testing, on vehicle components including the battery, to ensure that

   its vehicles’ parts are free from defects and provide quality assurance.

              77.    As part of Honda’s Global Honda Quality Standard, Honda claims that “[w]e have

   to aim for 120% product quality” and states that “[t]o strengthen customer trust by offering

   products founded on safety and offering a new level of outstanding quality, Honda has created a

   quality cycle that continuously enhances quality at every stage encompassing design, development,

   production, sales and after-sales service.”19

              78.    “Honda has created the Honda Quality Cycle that continuously enhances quality at

   every stage, encompassing design, development, production, sales and after-sales service in order

   to realize products offering a new level of outstanding quality.”20

              79.    To that end, Honda states that it assures long-term reliability through “Rigorous

   Durability Testing.”

              Honda subjects new and redesigned models to a rigorous regimen of long-distance
              durability testing before beginning mass production to verify that there are no
              quality issues. Honda also disassembles vehicles used in the test drives into every
              single part and verifies that there are no quality issues through a process consisting
              of several thousand checks. By accumulating data on the issues discovered through
              these test drives and detailed inspections as well as associated countermeasures, the
              Company is able to ensure a high level of quality and reliability.21

   19
       Honda                      Sustainability                   Report                    2018,
   https://global.honda/content/dam/site/global/about/cq_img/sustainability/report/pdf/2018/Honda-
   SR-2018-en-065-078.pdf (last visited May 24, 2021).
   20
        Id.
   21
        Id.


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          80.     As a result of its pre-sale “Rigorous Durability Testing” and other processes

   formalized in its Global Honda Quality Standard, Honda knew or should have known of the Defect

   and the risks and safety issues it posed to drivers.

                  2.      NHTSA Complaints

          81.     As part of Honda’s duty to identify potential defects in its vehicles determine

   whether vehicles or automotive components should be recalled due to safety concerns pursuant to

   the TREAD Act, 49 U.S.C. §30118, Honda is obligated to monitor the NHTSA databases for

   consumer complaints. Numerous consumer complaints to NHTSA regarding the Defect in Class

   Vehicles show that Honda knew, or should have known, of the Defect.

          82.     A sample of the consumer complaints concerning the Parasitic Drain Defect and

   thereby demonstrating Honda’s knowledge of the Defect are included below.

          83.     NHTSA complaints regarding the Defect in the 2016 Honda Accord:

   April 5, 2017 NHTSA ID NUMBER: 10970672
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 10970672
   Incident Date April 4, 2017
   Consumer Location REDWOOD CITY, CA
   Vehicle Identification Number 1HGCR2F55GA****

   Summary of Complaint

   VEHICLE WOULD NOT START POSSIBLY DUE TO ALTERNATOR OR BATTERY
   MALFUNCTION AFTER BEING PURCHASED FOR ONE YEAR.

   August 9, 2017 NHTSA ID NUMBER: 11013956
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11013956
   Incident Date December 15, 2016


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   Consumer Location BOERNE, TX
   Vehicle Identification Number 1HGCR2F85GA****

   Summary of Complaint
   I AM UNABLE TO START MY CAR AFTER IT SITS FOR TEN DAYS TO TWO WEEKS
   OR MORE. THE BATTERY GOES DEAD AND MY FAMILY AND I ARE LEFT
   POTENTIALLY STRANDED. MY WIFE AND I TRAVEL FREQUENTLY AND RETURN
   TO A CAR THAT WON’T START DUE TO A PARASITIC DRAW ON THE BATTERY.
   THIS IS A SAFETY ISSUE AS YOU CAN IMAGINE FLYING HOME, TAKING THE BUS
   TO THE PARKING LOT AT THE AIRPORT AT 11:00 PM, GOING TO YOUR CAR AND
   FINDING A DEAD BATTERY WHICH PUTS OUR SAFETY IN PERIL. I TOOK MY CAR
   TO ONEIL HONDA IN OVERLAND PARK, KANSAS. THEY CHARGED THE BATTERY
   AND CHECKED IT OUT AND TOLD ME THAT EVERYTHING IS FINE. I ASKED
   ABOUT WHY THE BATTERY WENT DEAD AND THEY SAID THAT THIS IS NOW
   NORMAL WITH THE NEW HONDA ACCORDS DUE TO THE PARASITIC DRAW ON
   THE BATTERY WHEN THE CAR ISN’T RUNNING WHICH ULTIMATELY DRAINS THE
   BATTERY TO A POINT WHERE IT WON’T START. HAVING BEEN AN AUTO
   MECHANIC IN MY YOUNGER DAYS I COULDN’T BELIEVE MY EARS. I CALLED
   ANOTHER HONDA DEALER’S SERVICE DEPARTMENT IN THE KANSAS CITY AREA
   AND RECEIVED THE SAME COMMENT. THEN I PHONED THE HONDA DEALERSHIP
   IN SAN ANTONIO WHERE I PURCHASED THE VEHICLE AND AGAIN, WAS
   PROVIDED THE SAME INFORMATION.... “THIS IS NOW WHAT I CAN EXPECT ON MY
   NEW ACCORD, IF IT SITS FOR TEN DAYS OR TWO WEEKS THEN THE BATTERY
   WILL DIE”. THE PARASITIC DRAW ON THE BATTERY IS PUTTING MY FAMILY AND
   I IN AN UNSAFE SITUATION AND I ASKED THAT YOU INTERVENE. I TRIED TO
   ADDRESS THIS WITH HONDA AMERICA BUT WAS NOT SUCCESSFUL WITH THE
   AGENT ON THE PHONE. I EVEN ASKED HER TO PICK A DEALER IN SAN ANTONIO,
   ANY DEALER, GET THEIR SERVICE MANAGER ON THE PHONE WITH US AND LETS
   SEE IF HE / SHE GIVES US A SIMILAR RESPONSE REGARDING THE PARASITIC
   DRAW. SHE REFUSED. NOW I FEEL THAT I NEED YOUR HELP. I HAVE HAD THIS
   PROBLEM SINCE LAST FALL AND IT HAS OCCURRED ON SEVERAL OCCASIONS. I
   WILL INDICATE AN APPROXIMATE DATE OF MY INITIAL VISIT / DISCUSSION
   WITH THE FIRST HONDA DEALER.

   April 15, 2017 NHTSA ID NUMBER: 10978620
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 10978620
   Incident Date April 10, 2017
   Consumer Location SIMPSONVILLE, SC
   Vehicle Identification Number 1HGCR3F97GA****


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   Summary of Complaint

   PURCHASED 2016 ACCORD TOURING IN MAY 2016. IN APRIL 2017 THE CAR WOULD
   NOT START - APPEARED TO BE A BATTERY ISSUE. HAD THE HONDA ROADSIDE
   SERVICE COME TO THE HOUSE, THEY JUMP STARTED IT, TOLD TO LET IT
   RUN/DRIVE IT FOR 1/2 HOUR. DID THAT. WENT SHOPPING AND WHEN I TRIED TO
   START IT AGAIN ELECTRONICS WENT CRAZY, WIPERS WENT ON THEIR OWN AND
   THE STOP BUTTON WOULD NOT TURN OFF THE CAR. HAD IT JUMPED AGAIN BY
   HONDA ROADSIDE. TOOK IT TO THE DEALER, THEY REPLACED THE BATTERY -
   SAID IT HAD A BAD CELL IN IT, SAID THERE WERE NO TECH SVC BULLETINS ON
   THE CAR AND SAID THERE WERE 100’S OF GROUND WIRES IN THIS CAR THAT
   MAY CAUSE A PROBLEM W/BATTERY PREMATURE FAILURE.

   November 18, 2017 NHTSA ID NUMBER: 11047161
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11047161
   Incident Date November 17, 2017
   Consumer Location GARDEN GROVE, CA
   Vehicle Identification Number 1HGCR2F31GA****

   Summary of Complaint
   SECOND TIME ON THE LAST FOUR DAYS THAT MY CAR WILL NOT START. I TOOK
   IT IN FOR SERVICE AT EH HONDA AUTONATION IN COSTA MESA CA AND THEY
   TOLD ME THAT EVERYTHING CHECKED OUT FINE. I WAS WORKING IN LOS
   ANGELES FOUR DAYS LATER AND ONCE AGAIN THE CAR WOULDN’T START.
   THIS IS AFTER DRIVING A FEW SHORT DISTANCES AND THEN THE CAR JUST
   WONT TURN OVER. I HAVE HAD TO HAVE THE CAR JUMPED TWICE IN THE LAST
   FOUR DAYS. THIS IS A PROBLEM BECAUSE OF WHERE I WORK AND I CANNOT LET
   MY WIFE DRIVE THE CAR DUE TO NOT HAVING THE CONFIDENCE THAT THE CAR
   WILL START, ESPECIALLY IF SHE HAS THE KIDS WITH HER. I WILL BE TAKING IT
   IN AGAIN ON MONDAY AND SEE WHAT THEY HAVE TO SAY. I HAVE READ THAT
   THERE ARE PARTS DEALING WITH THE BATTERY THAT CAN NOT ONLY CAUSE
   STARTING ISSUES, BUT SHORTS IN THE ELECTRICAL SYSTEM. I UNDERSTAND
   THAT PROBLEMS OCCUR, BUT THE FACT THAT THIS IS THE SECOND TIME IN
   FOUR DAYS I STARTING TO WONDER IF HONDA IS NOW SELLING VEHICLES OFF
   THEIR NAME AND NOT THEIR QUALITY. NOT WILLING TO GIVE UP ON THEM JUST
   YET, BUT IT WILL DEPEND ON WHAT THEY DO TO FIX THIS ISSUE.

   January 5, 2018 NHTSA ID NUMBER: 11060671
   Components: ELECTRICAL SYSTEM

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   NHTSA ID Number: 11060671
   Incident Date August 21, 2017
   Consumer Location CLAYTON, NC
   Vehicle Identification Number 1HGCR2F85GA****
   TL* THE CONTACT OWNS A 2016 HONDA ACCORD. THE CONTACT RECEIVED
   NOTIFICATION OF NHTSA CAMPAIGN NUMBER: 17V418000 (ELECTRICAL
   SYSTEM). THE DEALER (VANN YORK HONDA, (336) 841-6200) INSPECTED THE
   VEHICLE, BUT MADE NO MENTION THAT THE REMEDY AND PART WERE
   UNAVAILABLE TO RECEIVE THE RECALL REPAIR AT THAT TIME. THE CONTACT
   LATER NOTICED THAT THE VEHICLE FAILED TO START. THE BATTERY WAS
   REPLACED BY THE CONTACT, BUT THE FAILURE PROGRESSED. MONTHS LATER,
   THE CONTACT RECEIVED A SECOND LETTER INDICATING THAT THE PARTS WERE
   AVAILABLE. THE DEALER (AUTOPARK HONDA, (919) 467-4747) WAS TO SCHEDULE
   AN APPOINTMENT TO DIAGNOSE THE VEHICLE AND ADDRESS THE RECALL
   REPAIR. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
   MILEAGE WAS NOT AVAILABLE. PARTS DISTRIBUTION DISCONNECT.

   July 17, 2018 NHTSA ID NUMBER: 11112042
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11112042
   Incident Date July 15, 2018
   Consumer Location EDINBURG, TX
   Vehicle Identification Number 1HGCR2F55GA****

   Summary of Complaint
   MY BATTERY HAS A SHORTAGE-2016 WITH LESS THAN 40,000 MILES THIS IS
   CLEARLY A DEFECT

   November 26, 2018 NHTSA ID NUMBER: 11153677
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11153677
   Incident Date September 1, 2018
   Consumer Location Unknown
   Vehicle Identification Number 1HGCR2F39GA****

   Summary of Complaint

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   TL* THE CONTACT OWNS A 2016 HONDA ACCORD. AFTER DRIVING THE VEHICLE
   AND TURNING THE ENGINE OFF, THE BATTERY POWER WOULD DRAIN AND THE
   VEHICLE COULD NOT BE RESTARTED. AFTER REPLACING THE BATTERY WITH A
   NEW BATTERY, THE FAILURE CONTINUED. THE CAUSE OF THE FAILURE WAS
   NOT DETERMINED. THE MANUFACTURER AND LOCAL DEALER WERE NOT
   NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 56,000.

   April 11, 2019 NHTSA ID NUMBER: 11195584
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11195584
   Incident Date April 11, 2019
   Consumer Location TURLOCK, CA
   Vehicle Identification Number N/A

   Summary of Complaint
   TL* THE CONTACT OWNS A 2016 HONDA ACCORD. THE CONTACT STATED THAT
   THE VEHICLE’S BATTERY FAILED. THE DEALER WAS NOT CONTACTED. THE
   MANUFACTURER WAS CONTACTED AND STATED THAT THE VEHICLE WAS NOT
   INCLUDED IN NHTSA CAMPAIGN NUMBER: 17V418000 (ELECTRICAL SYSTEM).
   THE VEHICLE WAS NOT REPAIRED. THE FAILURE MILEAGE WAS 36,639. THE VIN
   WAS UNAVAILABLE.

   March 28, 2019 NHTSA ID NUMBER: 11192228
   Components: ELECTRICAL SYSTEM, ENGINE
   NHTSA ID Number: 11192228
   Incident Date March 15, 2019
   Consumer Location COVINA, CA
   Vehicle Identification Number 1HGCR2F60GA****

   Summary of Complaint
   BATTERY HAS BEEN REPLACED 3 TIMES AND CONSTANTLY DRAINS DESPITE
   TURNING OFF AUTOMATIC LIGHTS AND AIR CONDITIONING TO UTILIZE LESS
   BATTERY POWER. TURNING OVER WILL CHOKE AT TIMES AND START BUT
   ABOUT EVERY TIME THAT I TAKE MY CAR IN FOR AN OIL CHANGE THE BATTERY
   POWER TESTS LOW.

   May 25, 2019 NHTSA ID NUMBER: 11209968

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   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11209968
   Incident Date May 25, 2019
   Consumer Location ALLEN, TX
   Vehicle Identification Number 1HGCR2F52GA****

   Summary of Complaint
   BATTERY HAS BEEN REPLACED TWICE IN 1 YEAR

   May 6, 2019 NHTSA ID NUMBER: 11205817
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11205817
   Incident Date May 6, 2019
   Consumer Location OAKLAND, CA
   Vehicle Identification Number 1HGCR2F81GA****

   Summary of Complaint
   CAR WILL NOT START AFTER SITTING IN THE PARKING LOT FOR 10 MINS WHEN
   NOTHING TURNED ON. THIS IS THE 2ND TIME IN 6 MONTHS. THE FIRST INCIDENT
   WAS IN DECEMBER 2017 IN BAY AREA CA, AND NOW IN PLEASANTON CA WITH
   TEMP ABOUT 60 DEGREES OUTSIDER.

   April 26, 2019 NHTSA ID NUMBER: 11203916
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11203916
   Incident Date April 25, 2019
   Consumer Location Unknown
   Vehicle Identification Number 1HGCR2F58GA****

   Summary of Complaint
   I LEASED A NEW 2016 ACCORD SPORT IN MARCH 2016. I JUST RECENTLY
   PURCHASED IT OUT OF THE 3 YEAR LEASE. IN THE 2ND YEAR OF LEASE
   (12/08/2017) I WAS AT THE GAS STATION WITH THE CAR SHUT OFF, TRIED TO
   START IT AND IT WOULDN’T START. BATTERY WASN’T WORKING. (ORIGINAL
   HONDA BATTERY STILL IN IT). THE CAR WAS AT 80K MILES. TRIED TO JUMP

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   START AND IT WOULDN’T START. CALLED TO HAVE IT TOWED HOME, TOW
   DRIVER TESTED THE BATTERY AND JUMPED IT AND IT STARTED BUT WAS
   HAVING ISSUES SO HE SAID TO GET IT HOME. I REPLACED THE BATTERY
   IMMEDIATELY THAT NIGHT. (NEW STORE BOUGHT BATTERY) NO ISSUES UNTIL
   NOW (APRIL 2019). WAS DRIVING LAST NIGHT IN THE RAIN AND ALL 4 OF MY
   DASH LIGHTS CAME ON AT THE SAME TIME (ANTI-LOCK BREAK-ABS, TIRE
   PRESSURE-TPMS, TRACTION CONTROL, ELECTRIC POWER STEERING-EPS). I HAVE
   ASSOCIATED THIS ISSUE WITH SEVERAL DEALERS AND IT HAS BEEN LINKED TO
   THE BATTERY CAUSING THESE SENSORS TO TRIP AS THEY ARE NOT GETTING
   ENOUGH POWER. HUNDREDS OF COMPLAINTS FOR THIS SAME ISSUE! ONCE THE
   BATTERY IS REPLACED, THE PROBLEM GOES AWAY. I HAVE OWNED THIS CAR
   NOW FOR 3 YEARS EXACTLY AND THIS WILL BE THE 3RD BATTERY I HAVE HAD
   TO PUT IN THIS CAR, BUT THIS VIN IS NOT COVERED UNDER THE BATTERY
   RECALL? THE BATTERY RECALL (17V418000) IS FOR WATER GETTING INTO THE
   BATTERY CASE AND CAUSING SHORTS AND POSSIBILITIES FOR ELECTRICAL
   FIRES. SOMETHING ON THIS VIN MODEL IS HAVING SEVERE BATTERY ISSUES,
   POSSIBLY RELATED TO THE WATER WITH LAST NIGHTS INCIDENT, BUT 3
   BATTERIES IN 3 YEARS IS UNACCEPTABLE. THIS IS A $27,000 VEHICLE. ALL
   BATTERY ISSUES NEED TO BE REVIEWED FOR RECALL ISSUES.

   July 17, 2019 NHTSA ID NUMBER: 11232911
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11232911
   Incident Date December 5, 2018
   Consumer Location SIERRA MADRE, CA
   Vehicle Identification Number 1HGCR2F52GA****

   Summary of Complaint
   I HAD TO REPLACE THE BATTERY WITHIN THE FIRST YEAR OF ME OWNING THE
   VEHICLE. ABOUT 6 MONTHS AGO I STARTED HAVING THE SAME ISSUE WHERE
   MY BATTERY WAS DYING. IN ADDITION TO THAT MY.CAR STARTED MAKING A
   FUNNY NOISE. TURNS OUT I NEEDED MY TENSIONER/ALTERNATOR PULLEY
   REPLACED AND THAT IS WHEN THEY NOTICED THAT THE ALTERNATOR WAS
   NOT CHARGING CORRECTLY. IT WAS MEASURING AT 11 VOLTS INSTEAD OF THE
   NORMAL 14V. I HAD TO HAVE IT REPLACED ALONG WITH MY BELT TENSIONER. I
   SPENT 600 AND THEN I LEARNED THAT THERE WAS A RECALL ON HONDAS FOR
   THE SAME ISSUE BUT MY CAR WAS NOT INCLUDED IN THE LIST. I DON’T SEE
   WHY NOT WHEN IT WAS ALMOST THE IDENTICAL ISSUE. THIS IS THE FIRST CAR I
   HAVE EVER BOUGHT AND I BOUGHT A HONDA BECAUSE OF ITS REPUTATION
   FOR DEPENDABILITY. THE ALTERNATOR SHOULD NOT HAVE GIVEN OUT WITHIN
   THE FIRST THREE YEARS OF OWNING THE VEHICLE.

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   October 13, 2019 NHTSA ID NUMBER: 11268149
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11268149
   Incident Date October 1, 2019
   Consumer Location MIAMI LAKES, FL
   Vehicle Identification Number 1HGCR2F55GA****

   Summary of Complaint
   WHEN I GET IN MY CAR SOMETIMES TO START IT THE BATTERY IS DEAD I HAVE
   TAKING IT TO AUTOZONE SO THEY CAN RUN TEST WITH THERE COMPUTER AND
   EVERYTHING COMES OUT PERFECT IF I’M NOT MISTAKEN I THINK THE BATTERY
   NEGATIVE VOLTAGE SENSOR IS DAMAGED

   September 20, 2020 NHTSA ID NUMBER: 11360118
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11360118
   Incident Date September 19, 2020
   Consumer Location RIVER RIDGE, LA
   Vehicle Identification Number 1HGCT2B81GA****

   Summary of Complaint
   I JUST REPLACE THE BATTERY FOR THE 3RD TIME ON 9/19/2020. THIS IS A
   PROBLEM FOR A CAR 4 YEARS OLD

   January 31, 2021 NHTSA ID NUMBER: 11390859
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11390859
   Incident Date January 31, 2021
   Consumer Location Unknown
   Vehicle Identification Number 1HGCR3F08GA****

   Summary of Complaint
   IF THE VEHICLE IS NOT STARTED AND DRIVEN AT LEAST EVERY SECOND DAY. A
   NO START CONDITION RESULTS. BATTERY IS NEW, THE SECOND ONE FROM
   HONDA DEALER. CRANK/STARTER SPEED VERY LETHARGIC, ALL CONDITIONS,

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   REMOTE START INCLUDED. PURCHASED AN AFTER MARKET START BOOSTER TO
   RESOLVE DEAD BATTERY ISSUE. VEHICLE NO LONGER UNDER WARRANTY.
          84.    NHTSA complaints regarding the Defect in the 2017 Accord:

   July 11, 2017 NHTSA ID NUMBER: 11004676
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11004676
   Incident Date June 1, 2017
   Consumer Location DELANO, CA
   Vehicle Identification Number N/A

   Summary of Complaint
   I PURCHASED A NEW VEHICLE THRU A HONDA DEALERSHIP, WHICH IS 4 HOUR
   DRIVE FROM MY RESIDENCE. I’VE HAD TO GET VEHICLE JUMPSTARTED ON 4
   OCCASIONS AND HAVE TAKEN VEHICLE TO A LOCAL HONDA DEALERSHIP TO
   GET IT INSPECTED UNDER WARRANTY TERMS. THE DEALERSHIP HAS ONLY
   REPLACED BATTERY TWICE YET HAS NOT BEEN ABLE TO PINPOINT PROBLEM.
   DRIVER SIDE DOOR LOCK/UNLOCK BUTTON ALSO HAS BEEN MALFUNCTIONING
   AND TEMPERATURE GAUGE HAS ALSO BEEN MALFUNCTIONING. I HAVE BEEN
   WORKING WITH HONDA FINANCE CORPORATION CASE MANAGER BY THE NAME
   OF KIA WHO HAS BEEN GIVING ME RUNAROUND ALONG WITH LOCAL
   DEALERSHIP, UNABLE TO SOLVE VEHICLE DEFECT/SAFETY ISSUE. THEY NOW
   SUGGEST I TAKE VEHICLE TO ORIGINAL HONDA DEALER OF PURCHASE WHICH
   IS A 4 HOUR DRIVE AND HAVE THEM REMOVE AFTER MARKET ALARM THEY
   INSTALLED WHICH MIGHT SUPPOSEDLY BE CAUSING ELECTRICAL PROBLEM.
   HOWEVER, IT IS SPECULATION AND DRIVING LONG DISTANCE IS A HARDSHIP
   FOR ME AND VERY UNFAIR. I FEEL LIKE LOCAL HONDA DEALER SHOULD FIX
   PROBLEM. THIS IS A HUGE CAR SAFEY ISSUE THAT HAS NOT BEEN RESOLVED.
   YOUR ASSISTANCE AND GUIDANCE IS VERY APPRECIATED.

   January 18, 2018 NHTSA ID NUMBER: 11063517
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11063517
   Incident Date January 28, 2017
   Consumer Location MEMPHIS, TN
   Vehicle Identification Number 1HGCR3F07HA****

   Summary of Complaint

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   TL* THE CONTACT OWNS A 2017 HONDA ACCORD. WHILE DRIVING 45 MPH, THE
   VEHICLE STALLED WITHOUT WARNING. THE CONTACT WAS UNABLE TO
   RESTART THE VEHICLE. ADDITIONALLY, THE CONTACT STATED THAT THE
   INTERIOR LIGHTING WOULD REMAIN ILLUMINATED, THE IN-DASH NAVIGATION
   SYSTEM AND OTHER INTERNAL AND EXTERNAL LIGHTING WOULD BLINK OR
   FLASH INDEPENDENTLY. THE VEHICLE WAS TOWED TO AUTONATION HONDA
   (1990 COVINGTON PIKE, MEMPHIS, TN 38128, (901) 209-1283) TO BE DIAGNOSED.
   THE CONTACT WAS INFORMED THAT THERE WAS AN ELECTRICAL FAILURE
   THAT WAS ATTRIBUTED TO THE KEY FOB NOT BEING IN SYNC WITH THE
   VEHICLE’S ECU. THE MECHANIC WAS ABLE TO RESTART THE VEHICLE;
   HOWEVER, AFTER APPROXIMATELY THREE MONTHS OF DRIVING, THE FAILURE
   RECURRED. AFTER THE THIRD FAILURE, THE VEHICLE WAS TOWED BACK TO
   THE DEALER. THE MECHANIC WAS UNABLE TO RESTART THE VEHICLE. THE
   CONTACT WAS INFORMED THAT SEVERAL WIRING HARNESSES HAD MELTED
   AND NEEDED TO BE REPLACED. THE VEHICLE WAS REPAIRED, BUT THE
   CONTACT WAS CONCERNED THAT THE FAILURE COULD RECUR. THE CONTACT
   WAS INFORMED BY THE SERVICE DEPARTMENT THAT THEY WERE UNABLE TO
   GUARANTEE THAT THE FAILURE WOULD NOT RECUR AND TO GET RID OF THE
   VEHICLE PRIOR TO THE WARRANTY EXPIRING. THE MANUFACTURER WAS
   NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS 80. *TT
   *TR

   February 6, 2019 NHTSA ID NUMBER: 11174885
   Components: ELECTRICAL SYSTEM, UNKNOWN OR OTHER
   NHTSA ID Number: 11174885
   Incident Date February 2, 2019
   Consumer Location PRAIRIEVILLE, LA
   Vehicle Identification Number 1HGCR2F12HA****

   Summary of Complaint

   OVER THE LAST SEVERAL DAYS THE CAR WOULD NOT START WITHOUT
   REQUIRING A JUMP FOR THE BATTERY. THEN IT WOULD RUN, BUT ONCE THE
   CAR WAS OFF AND HAD TO BE RESTARTED IT WOULD REQUIRE ANOTHER JUMP.
   HAD THE BATTERY TESTED AND BROUGHT THE CAR TO DEALERSHIP AND THEY
   STATE NOTHING IS WRONG WITH THE VEHICLE. (IT STARTED THERE NO
   PROBLEM). IT RAN FINE FOR THE NEXT FEW DAYS, BUT CURRENTLY ITS PARKED
   AND WON’T START. THE ONLY LIGHTS THAT DISPLAYED WAS THE EPS WHICH
   TURNED OFF SHORTLY AFTER THE CAR STARTED.




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   February 14, 2019 NHTSA ID NUMBER: 11180194
   Components: ELECTRICAL SYSTEM, UNKNOWN OR OTHER, ENGINE
   NHTSA ID Number: 11180194
   Incident Date October 10, 2018
   Consumer Location ASTORIA, NY
   Vehicle Identification Number 1HGCR2F7XHA****

   Summary of Complaint
   BATTERY DIED AFTER LESS THAN 2 YEARS OF USE. NEEDED TO REPLACE. NO
   ELECTRICAL USE OF THE VEHICLE, PEP BOYS SAYS ITS A COMMON ISSUE WITH
   NEW HONDAS. NEEDED TO TOW CAR AND DANGEROUSLY TURNED OFF IN THE
   MIDDLE OF THE STREET WHEN THE BATTERY DIED.
         85.    NHTSA complaints regarding the Defect in the 2018 Accord:

   December 4, 2018 NHTSA ID NUMBER: 11155848
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11155848
   Incident Date December 3, 2018
   Consumer Location PAWCATUCK, CT
   Vehicle Identification Number 1HGCV1F3XJA****

   Summary of Complaint
   LAST SERVICE CHECK, APPROX 1 WEEK, SHOWED BATTERY PARTIALLY
   DISCHARGED (MARKED AS “FAILED” AND “REPLACE” ON THE SERVICE REPORT.
   NO APPARENT REASON. TODAY, AFTER A RAINY DAY AND NOT USING THE CAR
   THE DAY BEFORE, FOUND THE CAR LOCKED AS ALWAYS BUT ALL FOUR
   WINDOWS WERE DOWN. THIS IS THE SECOND OCCURRENCE. THE FIRST TIME
   WAS 2 MONTHS AGO WHEN A NEIGHBOR CALLED TO TELL ME THE WINDOWS
   WERE DOWN. THE CAR WAS LOCKED THEN AS WELL, IT WAS ALSO AFTER A
   RAINY DAY. IN BOTH OCCURRENCES, THERE WAS NO WATER IN THE VEHICLE OR
   ON THE SEATS.

   November 11, 2020 NHTSA ID NUMBER: 11374134
   Components: ELECTRICAL SYSTEM, UNKNOWN OR OTHER
   NHTSA ID Number: 11374134
   Incident Date November 2, 2020


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   Consumer Location DALLAS, TX
   Vehicle Identification Number 1HGCV1F42JA****

   Summary of Complaint
   I HAVE CHANGED TWO BATTERIES SINCE I BOUGHT IT FIRST BATTERY THAT IT
   CAME WITH COMPLETELY DIED AND COULDN’T EVEN GET A JUMP. CHANGED IT
   AND NOW I HAVE TO KEEP GETTING JUMP EVERYDAY. MY WINDSHIELD HAS
   ALSO CRACKED TWICE FROM PASSENGER SIDE TO DRIVER SIDE. NO PUNCTURE
   MARK INDICATING SOMETHING HIT IT.

   February 3, 2021 NHTSA ID NUMBER: 11394473
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11394473
   Incident Date August 21, 2019
   Consumer Location TAMPA, FL
   Vehicle Identification Number 1HGCV1F44JA****

   Summary of Complaint
   THIS IS A LEASED 2018 HONDA ACCORD, THE VEHICLE HAS 8000 MILES ON IT. THE
   SAFETY PROBLEM ON THIS VEHICLE IS THAT THE ELECTRIC SYSTEM HAS
   SHORTED 5 BATTERIES AND HAS LEFT ME STRANDED IN VARIOUS LOCATIONS,
   LENDING TO UNSAFE CONDITIONS. THE HONDA DEALER HAS REPLACED 5
   BATTERIES ON MY VEHICLE AND NOW MY CAR HAS BROKEN-DOWN AGAIN
   MAKING IT SIX SHORTED BATTERIES ON A VEHICLE THAT BARELY HAS 8K
   MILES. WHEN I TALKED TO KYLE LAMPP, ASSISTANT SERVICE MANAGER AT
   BRANDON HONDA, HE STATED HONDA CORP. KNOWS ABOUT THE ELECTRIC
   PROBLEMS AND THEY ARE UNWILLING TO ADDRESS IT BECAUSE OF COST.
   BELOW ARE THE DATES OF SERVICE REPAIRS WITH INCLUDED INVOICE
   NUMBERS: 8/21/19 SERVICE# 514010 11/13/19 SERVICE# 531130 1/22/20 SERVICE#
   544284 8/16/20 SERVICE#578092 11/19/20 SERVICE# 594896

   April 2, 2021 NHTSA ID NUMBER: 11406125
   Components: POWER TRAIN, ELECTRICAL SYSTEM
   NHTSA ID Number: 11406125
   Incident Date June 1, 2020
   Consumer Location LEXINGTON, KY
   Vehicle Identification Number 1HGCV1F36JA****

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   Summary of Complaint
   TL* THE CONTACT OWNS A 2018 HONDA ACCORD. THE CONTACT STATED THAT
   OCCASIONALLY THE VEHICLE WAS DIFFICULT TO START-UP. ADDITIONALLY,
   WHILE DRIVING AT UNDISCLOSED SPEEDS, THE VEHICLE WOULD LOSS MOTIVE
   POWER AND STALL WITHOUT WARNING. THE VEHICLE WAS TAKEN TO DON
   JACOBS HONDA (2699 REGENCY RD, LEXINGTON, KY 40503) HOWEVER, THE
   MECHANIC WAS UNABLE TO DUPLICATE THE FAILURE. THERE WAS NO DTC
   CODES RETRIEVED. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
   WAS MADE AWARE OF THE FAILURE. THE CONTACT WAS INFORMED THAT THE
   VEHICLE NEEDED TO BE DIAGNOSED TO BE COVERED UNDER THE WARRANTY.
   IF NOT, THE CONTACT NEEDED TO PAY OUT OF POCKET FOR THE REPAIR. THE
   APPROXIMATE FAILURE MILEAGE WAS 40,000.
         86.    NHTSA complaints regarding the Defect in the 2019 Accord:

   September 25, 2020 NHTSA ID NUMBER: 11361076
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11361076
   Incident Date September 21, 2019
   Consumer Location CINCINNATI, OH
   Vehicle Identification Number 1HGCV1F47KA****

   Summary of Complaint
   WHEN I WENT TO START MY CAR AFTER PARKING IT IN A PARKING LOT, MY CAR
   WOULDN’T START. THE CONTROL PANEL WAS FLASHING ON AND OFF AND
   STATED THAT THERE WAS AN ISSUE WITH THE BRAKE SYSTEM AND TO SEE MY
   DEALER. I HAD THE CAR TOLLED TO HONDA. AFTER INSPECTING THE CAR, THEY
   TOLD ME THERE WAS A DEFECTIVE CELL IN THE BATTERY AND THEY REPLACED
   THE BATTERY. I PURCHASED MY CAR BRAND NEW LAST YEAR IN 2019 YET THIS
   DEFECTIVE BATTERY CAUSED ME TO BE STRANDED, WHICH I DON’T EXPECT TO
   HAPPEN WITH AN ESSENTIALLY NEW CAR.
         87.    NHTSA complaints regarding the Defect in the 2017 CR-V:

   June 15, 2017 NHTSA ID NUMBER: 10995344
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 10995344
   Incident Date March 26, 2017
   Consumer Location BURBANK, CA
   Vehicle Identification Number 2HKRW1H89HH****

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   Summary of Complaint
   TL* THE CONTACT OWNS A 2017 HONDA CR-V. WHILE THE VEHICLE WAS
   PARKED, IT FAILED TO START WITHOUT WARNING. THE FAILURE WAS
   PERSISTENT. THE VEHICLE WAS TOWED TO A LOCAL DEALER (ROBERTSON
   HONDA 5841 LANKERSHIM BLVD, NORTH HOLLYWOOD, CA 91601), BUT THE
   CAUSE OF THE FAILURE COULD NOT BE DETERMINED. THE VEHICLE WAS NOT
   REPAIRED. THE MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE. THE
   FAILURE MILEAGE WAS APPROXIMATELY 1,200.

   August 18, 2017 NHTSA ID NUMBER: 11016279
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11016279
   Incident Date August 18, 2017
   Consumer Location HAWTHORNE, NJ
   Vehicle Identification Number 2HKRW2H56HH****

   Summary of Complaint
   MY FIRST PROBLEM OCCURRED 3 MONTHS AFTER I HAD MY NEW CAR(@ 5609
   MILES)....THE FIRST INCIDENT CAME OUT OF THE BLUE - ON MAY 11TH, 2017 I
   USED MY CAR AT 1 PM AND WHEN I TRIED TO LEAVE WORK AT 4:30 THE CAR
   DISPLAY FLASHED A BUNCH OF ODD MESSAGES AND THE CAR WOULDN’T TURN
   OVER. IT HAD A DEAD BATTERY! SO AN ONE AND A HALF LATER THE TOW
   TRUCK ARRIVED TO TAKE THE CAR TO THE DEALER AND I HAD TO GET A RIDE
   HOME AND TO AND FROM WORK THE NEXT DAY. HONDA SERVICE CALLED ME
   THE NEXT DAY AND SAID THAT THEY CHARGED THE CAR BATTERY AND THAT
   THE CAUSE WAS A PARASITIC DRAIN AND THAT I NEEDED TO PUT THE ELECTRIC
   BRAKE ON BEFORE I TURNED OFF THE CAR. THEY TOLD ME THAT HONDA WAS
   AWARE OF THIS ISSUES AND THAT THEY WERE WORKING ON A SOFTWARE FIX....
   WELL TONIGHT (FRIDAY - AUG. 18TH, 2017) AS I WAS ABOUT TO GO OUT, THE
   CAR AGAIN HAS A DEAD BATTERY. NOW I’M STUCK HOME UNTIL TOMORROW
   WHEN I WILL HAVE TO SPEND SATURDAY TRYING TO GET THE CAR DRIVEABLE
   BY HONDA. SO I HAVE A NEW CAR (WITH 9300 MILES) I CAN’T DRIVE!!! WHAT
   HAPPENS IF I HAVE AN EMERGENCY? HONDA - IF YOU HAVE A FIX (WHICH I SEE
   ON SERVICE BULLETIN A17-032), WHEN CAN I GET MY CAR FIXED SO I CAN HAVE
   A CAR I CAN RELY ON? WHEN WILL YOU LIST MY VIN IN YOUR SERVICE
   BULLETIN A017-032 FOR PARASITIC BATTERY DRAW FROM VSA
   MODULATOR????? THIS IS NOT A GOOD BUSINESS PRACTICE AND NOT ONE I
   WOULD EXPECT FROM HONDA!

   August 2, 2017 NHTSA ID NUMBER: 11012414

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   Components: ELECTRICAL SYSTEM, SERVICE BRAKES
   NHTSA ID Number: 11012414
   Incident Date August 2, 2017
   Consumer Location VANCOUVER, WA
   Vehicle Identification Number 2HKRW2H85HH****

   Summary of Complaint
   THIS INCIDENT WAS 4 MONTHS AFTWR PURCHASE. I PARKED A FRIEND’S HOUSE,
   AND THE BATTERY DRAINED OVER THE COURSE OF 3 HOURS. I CAME OUT AND
   START THE CAR, AND IT WOULDNT START. THE CAR KEEP ON MAKING THIS
   CONTINUOUS BEEPING NOISE EVERY TIME I OPEN AND CLOSE THE DOOR. IT
   USUALLY ONLY DO THAT IF THE KEY ISN’T NEAR THE CAR, BUT THIS TIME THE
   KEYS ARE ON ME. THE TRUNK WILL NOT OPEN NO MATTER WHAT YOU PRESS. I
   HAD TO GET MY FRIEND TO JUMP THE CAR WITH CABLES. WHILE I WAS DRIVING
   HOME, IT DIDN’T SHOW THE NORMAL SCREEN, BUT IT SHOWED SOME ANTI
   THEFT MESSAGE. ONCE I GOT HOME, IT TOLD ME TO HOLD DOWN FOR LONGER
   THAN TWO SECONDS TO HAVE THE SYSTEM RESTART. I DID THAT BUT NOTHING
   HAPPENED. I LEFT IT OVER NIGHT AND IT WAS NORMAL AGAIN THE NEXT DAY.
   RIGHT NOW, AS I’M WRITING THIS COMPLAINT, THERE’S ANOTHER PROBLEM. AN
   HOUR AGO, I PARKED AT A RESTAURANT’S PARKING LOT. I CAME OUT 40
   MINUTES LATER AND CANNOT START THR CAR. THE DISPLAY IN FRONT OF ME IS
   SHOWING “BRAKE SYSTEM PROBLEM. “ I’M WAITING THE THE TOW PEOPLE TO
   TOW MY CAR RIGHT NOW. IN SIX MONTHS I HAVE EXPERIENCED 2 MAJOR
   PROBLEMS WHICH CAUSE QUITE AN INCONVENIENCE.

   July 13, 2017 NHTSA ID NUMBER: 11005067
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11005067
   Incident Date April 17, 2017
   Consumer Location WAUWATOSA, WI
   Vehicle Identification Number 2HKRW2H97HH****

   Summary of Complaint
   BRAND NEW 2017 CR-V TOURING, SECOND NIGHT HOME. BATTERY COMPLETELY
   DRAINED WHILE PARKED OVERNIGHT AND HAD TO CHARGE BATTERY TO
   START. TOOK TO DEALER, WHO DID A BATTERY TEST AND FOUND NO ISSUE.
   THERE IS A HONDA TSB CAMPAIGN, BUT HONDA TELLS ME MY VIN IS OUT OF
   RANGE AND IS NOT COVERED -- EVEN THOUGH THE SYMPTOMS ARE IDENTICAL.

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   THEY WILL NOT OFFER SERVICE UNTIL THE VIN IS WITHIN RANGE. REFERENCE
   HONDA TSB-032 “PARASITIC BATTERY DRAW FROM VSA MODULATOR” HONDA
   AMERICA SUPPORT SUGGESTED I REPORT THIS TO NHTSA, FOR SOME REASON.
   STATED THAT IF THEY RECEIVE ENOUGH COMPLAINTS FOR A VIN RANGE IT
   COULD BE EXPANDED. (THIS MAKES NO SENSE TO ME SINCE I WAS ON THE
   PHONE WITH THEM.)

   November 13, 2017 NHTSA ID NUMBER: 11045525
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11045525
   Incident Date November 12, 2017
   Consumer Location SOUDERTON, PA
   Vehicle Identification Number 2HKRW2H51HH****

   Summary of Complaint
   AFTER DRIVING TO LOCAL COSTCO ABOUT 15 MIN DRIVE, I PARKED AT TIRE
   SERVICE CENTER TO REINFLATE TIRE. ONCE THEY HELPED ME, I TRIED TO
   START CAR AND NOTHING HAPPENS. COSTCO TIRE TECHNICIAN LOOKED AT IT
   AND DID NOT THINK IT IS BATTERY ISSUE SO I CONTACTED ROADSIDE
   ASSISTANCE FROM HONDA. IT IS BARELY WINTER AND MY 2017 CR-V BOUGHT
   LESS THAN 2 MONTHS AGO WITH 1850 MILES DOES NOT START. TOW TRUCK
   DRIVER SAID HE HAS RESPONDED TO MANY ISSUES WITH BATTERY ON NEW
   HONDAS. CAR DOES NOT START. CAN’T TELL IF ELECTRIC PARKING BRAKE IS
   ENGAGED OR NOT. WILL TAKE IT (GET IT TOWED) TO NEAREST HONDA DEALER
   THIS MORNING TO CONFIRM AND FIX ALL THE ISSUES. SO I WILL BE LATE TO
   WORK TODAY AND WASTED MY SUNDAY DEALING WITH THIS TOO.

   October 21, 2017 NHTSA ID NUMBER: 11035424
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11035424
   Incident Date October 18, 2017
   Consumer Location BLOOMINGTON, MN
   Vehicle Identification Number 5J6RW2H51HL****

   Summary of Complaint
   VEHICLE BATTERY DEAD AFTER SITTING FOR 3 HOURS. 3 WEEK OLD VEHICLE
   WITH 690 MILES. CHARGED THE BATTERY AND DROVE TO THE DEALER. THE


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   TECHNICIAN CHECKED THE BATTERY, CHARGING SYSTEM AND STARTING
   SYSTEM. NO TROUBLE WAS FOUND. I GAVE A COPY OF HONDA SERVICE
   BULLETIN 17-032 COVERING ‘PARASITIC BATTERY DRAW FROM THE VSA
   MODULATOR’ TO THE ‘SERVICE ADVISOR’ AND ASKED HIM TO SHOW IT TO THE
   SERVICE MANAGER. THE SERVICE MANAGER SAID THAT MY VIN WASN’T
   COVERED BY THAT BULLETIN AND BECAUSE WHAT THEY LOOKED AT WAS IN
   WORKING ORDER THEY WOULDN’T DO ANYTHING ELSE TO ADDRESS THE CAUSE
   OF THE BEAD BATTERY. I TOLD THEM THAT THE ISSUE WASN’T ADDRESSED AND
   THAT I WILL HAVE THE VEHICLE TOWED TO THE DEALER WHEN IT HAPPENS
   AGAIN!

   October 11, 2017 NHTSA ID NUMBER: 11032872
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11032872
   Incident Date October 10, 2017
   Consumer Location SAN JUAN, PR
   Vehicle Identification Number 5J6RW1H83HL****

   Summary of Complaint
   BATTERY DRAINS COMPLETELY FOR NO REASON WHEN VEHICLE IS PARKED.
   THE FIRST TIME IT HAPPENED THE DEALERSHIP REPLACED THE BATTERY. IT HAS
   HAPPENNED TWICE SINCE THEN AND DEALERSHIP DOES NOT PROVIDE A FIX.

   August 24, 2017 NHTSA ID NUMBER: 11019266
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11019266
   Incident Date August 17, 2017
   Consumer Location SAMMAMISH, WA
   Vehicle Identification Number 5J6RW2H98HL****

   Summary of Complaint
   CAR BATTERY HAS DRAINED ON TWO OCCASIONS. CAR WON’T START. SYSTEM
   NEEDS ANTI THEFT RESET.

   January 9, 2018 NHTSA ID NUMBER: 11061486
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11061486

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   Incident Date December 29, 2017
   Consumer Location EAGLE RIVER, WI
   Vehicle Identification Number 2HKRW2H82HH****

   Summary of Complaint
   DEATHS0
   VEHICLE WAS PARKED IN GARAGE FOR A FEW DAYS OVER HOLIDAYS. WHEN
   LEAVING TO MEET RELATIVES AT A RESTAURANT, THE CAR WAS COMPLETELY
   DEAD. BATTERY WAS AT 3.3 VOLTS. CALLED THE HONDA DEALER AND HE
   SUGGESTED HONDA’S FREE SERVICE; ALSO, MAYBE THE CAR SHOULD BE
   DRIVEN DAILY. (?!) I ASKED IF I COULD REMOVE THE BATTERY AND CHARGE IT
   WITH MY BATTERY CHARGER. HE SAID THAT WOULD BE OK. I CHARGED
   OVERNIGHT ON TRICKLE CHARGE. THE NEXT DAY THE BATTERY WAS AT 13
   VOLTS. I PUT IT BACK IN THE CAR, WAITED 10 MINUTES FOR ALL SYSTEMS TO
   BOOT UP AND TOOK IT FOR A DRIVE. SEEMED ALRIGHT. LOOKING ONLINE, I
   NOTICED A HONDA TECHNICAL SERVICE BULLETIN (17-032) REFERRING TO
   PARASITIC BATTERY DRAIN AND MY VIN FIT THE PARAMETERS. I NOW HAVE AN
   APPOINTMENT WITH THE DEALER TO CHECK IT OUT. SURPRISINGLY, THE
   SERVICE MANAGER SAID THE DEALER HAD NOT HEARD OF THIS BULLETIN AND
   WAS NOT AWARE OF THIS PROBLEM. I HAD ASSUMED HONDA WOULD
   DISTRIBUTE ALL BULLETINS TO ALL DEALERS, BUT APPARENTLY THAT’S NOT
   THE CASE. HOPEFULLY THE SOFTWARE UPDATES WILL FIX THIS PROBLEM.

   February 16, 2018 NHTSA ID NUMBER: 11073304
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11073304
   Incident Date February 16, 2018
   Consumer Location ARLINGTON, VA
   Vehicle Identification Number 2HKRW2H8XHH****

   Summary of Complaint
   CAR PURCHASED JULY 1, 2017. JAN 6, 2018 BATTERY DIED AFTER SITTING FOR
   ROUGHLY 2 DAYS. HONDA CHECKED BATTERY AND FOUND NO PROBLEMS WITH
   BATTERY OR ELECTRICAL SYSTEM. FRIDAY, FEB 16, 2018 SAME PROBLEM: DEAD
   BATTERY. CAR WAS SITTING FOR 3 DAYS PRIOR TO DISCOVERY. THERE ARE NO
   SUPPLEMENTAL ELECTRICAL ACCESSORIES.

   April 16, 2018 NHTSA ID NUMBER: 11088356

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   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11088356
   Incident Date April 5, 2018
   Consumer Location MILFORD, MI
   Vehicle Identification Number 5J6RW2H52HL****

   Summary of Complaint
   MY VEHICLE WAS PARKED AT A AIRPORT PARKING LOT FOR 13 DAYS DURING A
   TRAVEL TRIP. THE BATTERY WAS COMPLETELY DEAD AND WAS STARTED WITH
   A JUMP. NO LIGHTS, ACT WERE LEFT ON DURING THIS PERIOD.

   April 20, 2018 NHTSA ID NUMBER: 11089119
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11089119
   Incident Date April 10, 2018
   Consumer Location RANCHO PALOS VERDES, CA
   Vehicle Identification Number 2HKRW1H90HH****

   Summary of Complaint
   PURCHASED CAR 1/18. TOOK 10 DAY VACATION CAR WAS PARKED DURING THAT
   PERIOD. CAR BATTERY WAS DEAD WHEN WE RETURNED. HAD AAA JUMP CAR
   AND TOOK TO DEALER. BATTERY CHECKED AND TOLD BY DEALER IT WAS FINE
   6 DAYS LATER BATTERY DEAD HAD HONDA SERVICE TOW CAR TO DEALER. HAD
   FOUND HONDA TSB 17-032 ONLINE DESCRIBING A BATTERY DRAIN FROM VSA
   MODULATOR. MADE COPY FOR DEALER BECAUSE THEY WERE ‘UNAWARE OF
   PROBLEM’ ASKED THEM TO FOLLOW THE TSB SOFTWARE UPGRADE PROCEDURE
   WHICH THEY DID BUT WHEN THEY TESTED BATTERY THERE WAS STILL A DRAIN
   SO THEY REPLACED THE BATTERY AND INFORMED ME I NEED TO DRIVE CAR
   EVERDAY TO KEEP IT CHARGED, THIS IS OUR SECOND CAR AND IS NOT DRIVEN
   EVERYDAY AND WE TRAVEL WHICH MEANS THE CAR MAY NOT BE DRIVEN FOR
   10 DAYS OR MORE THE SERVICE ADVISOR INDICATED THAT WE NEED TO
   ACQUIRE A BATTERY CHARGER BECAUSE MOST LIKELY THE BATTERY WOULD
   BE DEAD. IT SEEMS THAT THE 2017 CRV HAS AN ELECTRIC BRAKE SYSTEM
   PROBLEM. IT PULLS ON THE BATTERY EVEN WHEN THE IGNITION IS OFF. IS
   HONDA GOING TO ISSUE A RECALL ON THIS PROBLEM. EVERYTIME I GET IN THE
   CAR I WONDER IF THE CAR WILL START AND THIS AN UNCOMFORTABLE
   FEELING FOR A BRAND NEW CAR WITH ONLY 540 MILES ON IT.


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   April 25, 2018 NHTSA ID NUMBER: 11090045
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11090045
   Incident Date April 23, 2018
   Consumer Location TOLEDO, OH
   Vehicle Identification Number 2HKRW2H54HH****

   Summary of Complaint
   FIVE TIMES THE BATTERY DRAINED COMPLETELY WITH NOTHING ON, AFTER
   SITTING UNUSED, GARAGED, OVER NIGHT OR AFTER ONE DAY UNUSED. AFTER
   THE SECOND INCIDENT THE DEALER REPLACED THE BATTERY. AFTER THE
   FOURTH INCIDENT, THE DEALER CHARGED THE BATTERY. AFTER THE FIFTH
   INCIDENT, ONE WEEK LATER, THE DEALER CHARGED THE BATTERY AND
   CLAIMED ONLY A .002 MILIAMP DRAW.
          88.    NHTSA complaints regarding the Defect in the 2018 CR-V:

   March 6, 2018 NHTSA ID NUMBER: 11076480
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11076480
   Incident Date January 31, 2018
   Consumer Location CHASKA, MN
   Vehicle Identification Number 5J6RW2H80JL****

   Summary of Complaint
   WHILE ON VACATION, I HAD MY 2018 HONDA, CRV-EXL PARKED FOR NEARLY 2
   WEEKS. ON OUR RETURN, I ATTEMPTED TO START THE VEHICLE. IT WOULD NOT
   START AS THE NEW BATTERY WAS COMPLETELY DRAINED AND DEAD. LUCKILY
   I HAD A CHARGER AND CHARGED THE VEHICLE FOR 2 HOURS. I WAS THEN ABLE
   TO START THE VEHICLE AND IDLE IT. DURING IDLE THE DISPLAY INDICATED
   PROBLEMS IN ALL OPERABLE FUNCTIONS. DURING A 45 MIN DRIVE THE SYSTEM
   MUST HAVE RESET ITSELF AND THE VEHICLE OPERATED NORMALLY, THIS
   CONDITION REPEATED ITSELF ABOUT 1 MONTH LATER WITH THE SAME
   PROBLEMS. I AM SCHEDULE TO HAVE AN ELECTRICAL SYSTEM CHECK OF THE
   CRV SOON AT THE DEALERSHIP WHERE THE VEHICLE WAS PURCHASED. I HOPE
   THEY DISCIVER THE SOURCE OF THE PROBLEM.

   August 4, 2018 NHTSA ID NUMBER: 11115697


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   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11115697
   Incident Date August 3, 2018
   Consumer Location CONVERSE, TX
   Vehicle Identification Number 5J6RW1H80HL****

   Summary of Complaint
   DRAINING BATTERY SUSPECTED PARASITIC DRAIN. THE VEHICLE WAS
   ATTEMPTED TO START YESTERDAY AND THE BATTERY HAS LOW CHARGED (~7
   VOLTS FROM MULTI-METER). THE VEHICLE WAS SITTING IN THE GARAGE FOR
   ABOUT 2 DAYS SINCE LAST USE. JUMPSTARTED THE VEHICLE WITH A JUMPER
   CABLE AND WAS DRIVEN FOR ABOUT 2 HOURS. AFTER DRIVING THE BATTERY
   HAD ABOUT ~14 VOLTS READING. THE VEHICLE IS ~10500 MILES UNDER NORMAL
   USAGE. PURCHASED SEPT 2017. THIS IS THE SECOND TIME IT HAPPENED IN THE
   LAST 3 MONTHS. THE FIRST TIME WAS ~7-8K MILES.

   August 6, 2018 NHTSA ID NUMBER: 11118082
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11118082
   Incident Date July 1, 2018
   Consumer Location KLAMATH FALLS, OR
   Vehicle Identification Number 2HKRW2H53JH****

   Summary of Complaint
   TL* THE CONTACT OWNS A 2018 HONDA CR-V. WHILE DRIVING 35 MPH, THE
   VEHICLE INADVERTENTLY CAME TO A STOP. THERE WERE NO WARNING
   INDICATORS ILLUMINATED. THE CONTACT STATED THAT THE VEHICLE WAS
   ABLE TO RESTART. THE VEHICLE WAS TAKEN TO LITHIA HONDA IN MEDFORD
   (4095 CRATER LAKE HWY, MEDFORD, OR 97504, (541) 930-3021) WHERE THE
   CONTACT WAS INFORMED THAT THE ALTERNATOR NEEDED TO BE REPLACED.
   THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS MADE AWARE OF
   THE FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 700.

   October 8, 2018 NHTSA ID NUMBER: 11139129
   Components: POWER TRAIN, ELECTRICAL SYSTEM, ELECTRONIC STABILITY
   CONTROL
   NHTSA ID Number: 11139129


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   Incident Date October 6, 2018
   Consumer Location HONOLULU, HI
   Vehicle Identification Number 2HKRW1H58JH****

   Summary of Complaint
   CAR STALLS WHEN GOING UP PARKING RAMP, CAR DIES AT INTERSECTION, CAR
   DOES NOT SENCE OBJECTS WHEN IN REVERSE, A BLUE LINE APPEARS WHEN
   RAINING AND I REVERSE OBSTRUCTION VIEW, ELECTRONICS FREEZE AND
   UNABLE TO USE TOUCH SCREEN...USUALLY HAPPENS WHEN RAINING CREATING
   A SAFETY HAZARD. BRAKES FAILED (PEDAL FROZE) IN REVERSE. SALESMAN
   SAID TO LET IT HAPPEN SEVERAL MORE TIMES BEFORE MAKING A SERVICE
   APPOINTMENT. THE CAR HAS BEEN A PROBLEM EVER SINCE I GOT IT EARLIER
   THIS YEAR...THERE IS ONLY 4,000 MILES ON IT AND SO FAR, THEY CHANGED THE
   BATTERY...EXPLANATION I WAS GIVEN IS THAT HONDA HAS BAD BATTERIES.
   THIS AFTER CHANGING OIL ONE WEEK PRIOR AND SERVICE REPORT INDICATED
   GOOD BATTERY. ONE WEEK AFTER SERVICING, THE CAR DIED AND HAD TO BE
   TOWED. THE SERVICE PEOPLE AT HONDA SAID IT WAS ALL DUE TO A BAD
   BATTERY. BRAKES FAILED DUE TO BAD BATTERY???? STILL HAVING PROBLEMS,
   CAR IS STALLING, PANEL FREEZES, SENSORS DON’T WORK...SALESMAN SAID NO
   LOANERS AVAILABLE AND IF YOU WANTED A LOANER WHEN YOU SERVICE
   CAR, SHOULD HAVE BOUGHT A LEXUS OR BMW. THIS AFTER I DESCRIBED ALL
   THE PROBLEMS. REALLY UNHAPPY WITH THIS CAR. I BELIEVE IT’S A MAJOR
   SAFETY ISSUE. .BRAKES FAILED, PANEL FREEZES, CAR STALLS...HELP!!!!! NOTE
   THIS HAPPENED AS RECENTLY AS 10/5/18 BUT REALLY IT HAPPENED SEVERAL
   TIMES SINCE I’VE HAD THIS CAR. I HAD IT TOWED ONCE WHEN A LIGHT
   FLASHED, “BRAKE FAILURE” AND I WAS UNABLE TO START THE CAR. THE
   BATTERY WAS CHANGED - THIS WAS IN AUGUST OF 2018.

   January 2, 2019 NHTSA ID NUMBER: 11164461
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11164461
   Incident Date December 21, 2018
   Consumer Location BRAMBLETON, VA
   Vehicle Identification Number 5J6RW2H89JL****

   Summary of Complaint
   ON 12/21/18, I WENT TO START THE VEHICLE AND IT STARTED FLASHING ALL
   KINDS OF ALERTS ON THE DASHBOARD. THE CAR WOULD NOT START. DOOR


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   LOCKS, TAILGATE WOULD NOT CLOSE VIA REMOTE OR OR BY PRESSING THE
   BUTTONS FOR THESE FUNCTIONS. NO INDICATION THAT THE LIGHTS WERE LEFT
   ON. 2 HOURS PRIOR THE CAR STARTED WITHOUT ISSUE. TOW WAS REQUESTED.
   TOW TRUCK DRIVER GAVE THE BATTERY A JUMPSTART AND TOLD ME TO
   LEAVE THE CAR RUNNING FOR 30 MINUTES WHILE THE SYSTEM RESET. THE
   SYSTEM DID NOT RESET. DASHBOARD ALERTS FOR TPMS PROBLEM, BRAKE
   SYSTEM PROBLEM, BRAKE HOLD PROBLEM AND VEHICLE STABILITY
   ASSISTANCE PROBLEM CONTINUED TO FLASH. THE VEHICLE WAS PARKED AT
   HOME IN DRIVEWAY FROM THE PREVIOUS EVENING. WE MOVED IT FORWARD
   TWO HOURS PRIOR TO ALLOW SPACE TO ROLL OUT OR TRASH CANS FOR
   GARBAGE COLLECTION. THE VEHICLE WAS PURCHASE ON JULY 30TH 2018 AND
   HAS 8322 MILES ON IT. NEVER EXPECTED TO HAVE AN ISSUE OF THIS SORT WITH
   A BRAND NEW VEHICLE. GRATEFUL THAT IT SHUTDOWN AT HOME RATHER
   THAN ON THE HIGHWAY.

   July 2, 2019 NHTSA ID NUMBER: 11229035
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11229035
   Incident Date March 1, 2019
   Consumer Location Unknown
   Vehicle Identification Number 7FARW1H5XJE****

   Summary of Complaint
   TL* THE CONTACT OWNS A 2018 HONDA CR-V. WHILE DRIVING VARIOUS SPEEDS,
   AN ABNORMAL BEEPING NOISE WAS HEARD AND THE RADIO LIGHTING AND
   INSTRUMENT PANEL INDICATORS FLASHED ON AND OFF. THE VEHICLE WAS
   TAKEN TO JENKINS HONDA OF LEESBURG (8865 US-441, LEESBURG, FL 34788, (352)
   815-2482) TO BE DIAGNOSED, BUT THE CAUSE OF THE FAILURE WAS
   UNDETERMINED. THE FAILURE RECURRED. THE VEHICLE WAS TAKEN BACK TO
   THE DEALER WHERE IT WAS DIAGNOSED THAT THE BATTERY NEEDED TO BE
   REPLACED. THE VEHICLE WAS REPAIRED; HOWEVER, THE FAILURE PERSISTED
   FOUR MORE TIMES. THE MANUFACTURER WAS NOTIFIED OF THE FAILURES. THE
   APPROXIMATE FAILURE MILEAGE WAS 23,000.


   June 16, 2020 NHTSA ID NUMBER: 11329094
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11329094
   Incident Date June 10, 2020


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   Consumer Location DOWNEY, CA
   Vehicle Identification Number 5J6RW1H53JA****

   Summary of Complaint
   WHILE DRIVING ON A CITY BOULEVARD AT ABOUT 35 MPH, THE NAVIGATION
   SCREEN WENT BLANK. SECONDS LATER, THE FOLLOWING MESSAGE WAS
   DISPLAYED: “ANTI THEFT SYSTEM. THIS SYSTEM HAS LOST POWER. PUSH AND
   HOLD THE POWER BUTTON FOR MORE THAN TWO SECONDS TO ENABLE THE
   SYSTEM.” I ASSUMED THAT THE VEHICLE WAS DIRECTING ME TO HOLD THE
   RADIO POWER BUTTON, SO I DID AND HELD IT FOR TWO SECONDS, BUT IT MADE
   NO DIFFERENCE. I THEN PULLED OVER WHEN SAFE, TURNED THE VEHICLE OFF,
   WAITED FOR 1 MINUTE AND THEN TURNED THE VEHICLE BACK ON. THE
   NAVIGATION SCREEN WAS BACK ON TO NORMAL. THE INCIDENT OCCURRED ON
   JUNE 10, 2020 AND THIS IS A 2018 MODEL. THE BATTERY THAT INITIALLY CAME
   WITH THE VEHICLE DIED ON FEBRUARY, 2020 AFTER REQUIRING A JUMP START.
   *TR

   March 5, 2020 NHTSA ID NUMBER: 11316406
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11316406
   Incident Date March 1, 2020
   Consumer Location ALLENTOWN, NJ
   Vehicle Identification Number 2HKRW2H92JH****

   Summary of Complaint
   I WAS AWAY FOR 17 DAYS AND MY BATTERY DIED. WENT TO DEALER AND HE
   SAID THIS IS NORMAL. HOW IS THIS NORMAL? IT’S DANGEROUS AND SHOULD
   NOT HAPPEN! CAR IS 18 MONTHS OLD! THIS IS DANGEROUS TOO. LAST YEAR WE
   WERE GONE 2 MONTHS AND WIFE’S CAR STARTED RIGHT UP. NEIGHBORS
   WINTER IN FLORIDA - COME HOME AND CARS START UP. MY LAST CAR SAT 3
   MONTHS AND STARTED RIGHT UP. THIS NEEDS TO BE FIXED! WE TRAVEL AND
   CAR SITS AT THE AIRPORT / TRAIN. WHAT HAPPENS WHEN WE COME BACK AND
   IT’S DEAD AND IT’S LATE / SNOW / ICE / BAD AREA. WORSE - I COULD NOT GET
   INTO THE REAR HATCH (DEALER SAID NOPE - CAN’T - NO BYPASS) TO GET MY
   JUMPER CABLES! AND CAR WAS IN A GARAGE (50+ DEGREES). GARAGE ALSO
   MADE IT HARD TO JUMP AS WAS PULLED IN FORWARD! THIS IS ALL SCARY AND
   MUST BE FIXED BUT DEALER SAYS NORMAL. HE SAID SOME DIE IN A COUPLE /
   FEW DAYS AND IT’S NORMAL. THIS IS NORMAL? AFTER JUMPING IT I HAD TO
   RESET SO MUCH / DASH WAS LIT UP - RADIO DIDN’T WORK. 17 DAYS IS NOTHING


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   FOR A CAR TO SIT AND DEALER SAID IT MAY HAVE DIED THE FIRST WEEK. THEN
   WHAT - NO ALARM - NOTHING. I LOOKED ONLINE AND MANY HAVE THIS ISSUE.
   FOR ALL I KNOW MY HONDA BATTERY DIED DAY 2 OR 3 AS MANY ONLINE SAY
   THEIRS DIES AFTER SITTING JUST A FEW DAYS.
   December 14, 2020 NHTSA ID NUMBER: 11383284
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11383284
   Incident Date December 10, 2020
   Consumer Location DECATUR, IL
   Vehicle Identification Number 7FARW2H97JE****

   Summary of Complaint
   2018 HONDA CRV TOURING PURCHASE SEPTEMBER 8, 2018. CURRENTLY HAS
   16,400 MILES. ON THURSDAY, DECEMBER 10, I WENT OUT TO START MY HONDA
   CRV TOURING IN THE GARAGE. IT WOULD NOT START. I CALLED THE HELPLINE
   TO HAVE A TOWING COMPANY COME TO TAKE THE CAR TO BOB BRADY HONDA
   DEALERSHIP IN DECATUR ILLINOIS. I CALLED BOB BRADY HONDA SERVICE
   CENTER THEY TOLD ME TO JUST HAVE THE TOWING COMPANY JUMPSTART MY
   CAR AND DRIVE IT INTO THE DEALERSHIP SERVICE DEPARTMENT. NOTE, THE
   TOWING COMPANY DRIVER INFORMED ME THAT THIS IS ABOUT THE 13TH
   HONDA 2018 2020 THAT HE HAS HAD TO JUMPSTART. SOME OF THE VEHICLES
   HE’S HAD TO REVISIT TO JUMPSTART. I DIDN’T DRIVE THE CAR AFTER COMING
   HOME THE REST OF THE DAY ON THURSDAY. THE CAR STARTED ON FRIDAY,
   DECEMBER 18, AT 11:30 AM. THE HONDA STARTED ON FRIDAY, DECEMBER 18 AT
   3:30 PM. SATURDAY, DECEMBER 19, THE CAR STARTED AT 10:00 AM. THAT SAME
   DAY THE CAR STARTED AT 1:00 PM. ON SUNDAY, DECEMBER 13, I WENT OUT TO
   TRY TO START MY CAR AT 7:00 AM. MY CAR WOULD NOT START! IT IS MY
   UNDERSTANDING AT THE HONDA DEALERSHIP IN THE SERVICE DEPARTMENT
   THEY WILL NOT JUST FLIP OUT THE BATTERY UNTIL THEY FIRST TRY TO
   CHARGE IT AGAIN TO SEE IF THAT HELPS THE PROBLEM. IT IS NOW DECEMBER
   14, 2020 AND I AM GOING TO CALL THE HONDA DEALERSHIP TO HAVE MY CAR
   TOWED IN TODAY FOR THE EXACT SAME PROBLEM OF THE BATTERY BEING
   DEAD! BOTH TIMES THAT THE CAR BATTERY DIED AS WELL IT WAS SITTING IN
   MY HEATED GARAGE. I’M NOT ABLE TO TAKE ANY PHOTOGRAPHS ON A DEAD
   BATTERY. BUT, I HAVE MADE A VIDEO OF EXACTLY HOW THE PROCEDURE
   TAKES PLACE WHEN I HAVE TRIED TO START MY CAR IN THE GARAGE.

   January 11, 2021 NHTSA ID NUMBER: 11387448
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11387448


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   Incident Date January 8, 2021
   Consumer Location Unknown
   Vehicle Identification Number 5J6RW1H98JL****

   Summary of Complaint
   OUR 2018 HONDA CRV HAS A DEAD BATTERY AT 21,000 MILES. ON THE INTERNET,
   I SEE MANY OTHER EXAMPLES OF THIS BATTERY LOSING CHARGE. IS THIS A
   COMMON PROBLEM? WE WERE LUCKY, AS THE CRV BATTERY DIED IN OUR
   GARAGE. BUT, IT COULD HAVE DIED IN A LESS FRIENDLY LOCATION. FROM
   WHAT I READ, THIS BATTERY IS PRONE TO PARASITIC CURRENT LOSS AT ANY
   TIME. THANK YOU. JIM BROMWELL CAROLINA SHORES, NC
          89.    NHTSA complaints regarding the Defect in the 2019 CR-V:

   January 27, 2019 NHTSA ID NUMBER: 11172347
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11172347
   Incident Date January 18, 2019
   Consumer Location TRAVERSE CITY, MI
   Vehicle Identification Number 2HKRW2H53KH****

   Summary of Complaint
   MY 2019 HONDA CR-V’S BATTERY DIES AFTER SITTING IN MY GARAGE FOR TWO
   DAYS. IT HAS ONLY 320 MILES ON IT.



   February 25, 2019 NHTSA ID NUMBER: 11182356
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11182356
   Incident Date February 23, 2019
   Consumer Location FREDERICK, MD
   Vehicle Identification Number 7FARW2H56KE****

   Summary of Complaint
   PURCHASED 2019 HONDA CR-V ON FEBRUARY 9, 2019. DROVE ONLY TWICE IN
   THE FIRST 2 WEEKS. ATTEMPTED TO DRIVE FOR THE 3RD TIME (101 MILES ON

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   ODOMETER) ON THE 2 WEEK ANNIVERSARY OF BUYING, FEBRUARY 23, 2019 AND
   THE CAR WAS COMPLETELY DEAD! HONDA SENT TOW TRUCK, DRIVER
   CHARGED BATTERY. TOOK INTO HONDA TODAY FOR INSPECTION, THEY
   CHECKED THE BATTERY AND ONLY THE BATTERY AND SAID IT WAS FINE,
   NOTHING MORE THEY COULD DO. I WOULD HAVE LIKED THEM TO CHECK AND
   SEE WHAT DRAINED THE BATTERY. THE CAR SAT FROM TUESDAY TO
   SATURDAY, I WOULD EXPECT IT TO START WITHOUT AN ISSUE. SPOKE TO SALES
   ASSOCIATE WHO SAID THAT NEW CARS TEND TO DRAIN THE BATTERY IF THE
   WINDSHIELD WIPERS ARE LEFT IN THE ON POSITION. I DON’T KNOW WHY THAT
   WOULD EVEN BE A POSSIBILITY BUT IF THAT IS A FACT IT SHOULD BE
   CORRECTED.

   March 11, 2019 NHTSA ID NUMBER: 11185761
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11185761
   Incident Date February 1, 2019
   Consumer Location CUDDEBACKVILLE, NY
   Vehicle Identification Number N/A

   Summary of Complaint
   TL* THE CONTACT OWNS A 2019 HONDA CR-V. AFTER TURNING THE VEHICLE
   OFF, THE BATTERY DRAINED AND THE VEHICLE COULD NOT BE RESTARTED.
   THE VEHICLE WAS TOWED TO MIDDLETOWN HONDA (520 RT. 211E,
   MIDDLETOWN, NY) WHERE THE BATTERY WAS REPLACED, BUT THE FAILURE
   CONTINUED. THE CONTACT WAS INFORMED THAT THE FAILURE WAS CAUSED
   BY AN EPA MODULE INSIDE THE VEHICLE, BUT NO REPAIR WAS AVAILABLE. THE
   MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE. THE VIN WAS NOT
   AVAILABLE. THE FAILURE MILEAGE WAS 100.

   March 29, 2019 NHTSA ID NUMBER: 11192339
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11192339
   Incident Date January 6, 2019
   Consumer Location PLAISTOW, NH
   Vehicle Identification Number 2HKRW2H85KH****

   Summary of Complaint



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   IF THE CAR SITS FOR 24 + HOURS THE BATTERY DIES, I HAVE HAD THIS HAPPEN 6
   TIMES NOW. CALLED DEALER 3+ TIMES, BROUGHT IT IN THEY FIRST SAID IT WAS
   THE BATTERY (WHICH WE ALL KNEW IT WAS NOT) BUT THEY PUT IN A NEW ONE
   THEY SAID. ANYHOW AS YOU ALREADY KNOW THIS IS AN ELECTRICAL ISSUE
   THAT NEEDS TO BE FIXED A.S.A.P.. DEALER NOW TELLS ME HONDA IS WORKING
   ON A FIX BUT IN THE MEAN TIME I HAVE HAD TO HAVE THE CAR JUMPED AND
   PAID FOR THIS AS WELL IT’S A MAJOR NUISANCE I WANT FIXED VERY SOON OR
   WANT MY MONEY BACK AND I WILL BUY ANOTHER CAR. THIS HAS BEEN GOIN
   ON SINCE I BOUGHT THIS CAR DEC. 28TH 2018

   May 15, 2019 NHTSA ID NUMBER: 11207890
   Components: ELECTRICAL SYSTEM, ENGINE
   NHTSA ID Number: 11207890
   Incident Date April 10, 2019
   Consumer Location BROOKFIELD, OH
   Vehicle Identification Number 2HKRW2H85KH****

   Summary of Complaint
   BRAND NEW 2019 HONDA CR-V EX-L: ELECTRICAL PROBLEM,4/10/19 AT 200
   MILES, BATTERY COMPLETELY DEAD AFTER 2 DAYS OF NOT DRIVING BECAUSE
   COMPUTER PROGRAM ERROR. HONDA IS AWARE OF PROBLEM, BUT DOES NOT
   INSTRUCT THE DEALER TO FIX THE PROBLEM BEFORE SELLING ITS CARS.
   ENGINE PROBLEM AT 12 MILE AND UP, BOUGHT THE CAR IN MARCH,2019,
   SMELLED GASOLINE IN ENGINE OIL AT DIPSTICK, THE LEVEL WAS OVER MAX
   MARK BY 1/4”, WAS TOLD THAT HONDA ALREADY IMPLEMENTED THE SOLUTION
   PRIOR TO SELLING 2019 MODEL TO THE PUBLIC. OBVIOUSLY, IT DID NOT SOLVE
   THE PROBLEM. DEALER WAS NO HELP, REFUSE TO ADMIT THAT THE OIL WAS
   OVER MAXIMUM AND MIXED WITH GASOLINE. 5-9-19 AT 1467 MILES, PAID TO
   CHANGE OIL AND FILTER AT DEALER AND STARTED TO MONITOR OIL
   CONDITION AND LEVEL CLOSELY. DISCOVERING THAT THE OIL LEVEL WAS
   STILL OVER MAXIMUM MARK BY 1/4” AFTER RETURNING HOME AND ENGINE
   WAS COOL. 5/13/19 AT 1600 MILES, DRAINED 1/4 QT. OF OIL OUT TO BRING THE
   LEVEL DOWN TO 1/8” BELOW MAX. MARK. DISCOVERED THAT THE OIL HAD
   ALREADY TURNED BLACK AFTER LESS THAN 200 MILES , 4 DAYS AFTER OIL
   CHANGE. SAVED SAMPLE OF THE BLACK OIL FOR DEALER. 5/14/19 AT 1694 MILES,
   SHOWED SAMPLE OF NEWLY CHANGED BLACK OIL TO THE DEALER SERVICE
   DEPT. WAS TOLD THAT THIS DIRTY OIL COULD BE TYPICAL OF THIS 1.5 TURBO
   ENGINE. DEALER ADMIT THIS TIME FROM THE OIL SAMPLE THAT THERE IS
   GASOLINE SMELL MIXED IN WITH ENGINE OIL. PAID FOR ANOTHER OIL AND
   FILTER CHANGE MYSELF. DEALER DID NOT OFFER TO DO ANYTHING EXCEPT
   TELLING ME TO CONTACT HONDA ENGINEERING. WILL CONTINUE TO MONITOR

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   THE OIL STATUS, AND POSSIBLY ASK FOR HELP FROM HONDA USA. HONDA IS
   NOT DOING THE RIGHT THING FOR THE CUSTOMER SINCE IT HAS KNOWN THIS
   SINCE 2017 MODEL YEAR. SERIOUSLY, CONSIDERING OTHER BRAND OF VEHICLE
   IN THE FUTURE. IF THE NEW OIL AND FILTER CAN GET COMPLETELY DIRTY IN
   LESS THAN 200 MILES, I WOULD BE REQUIRED TO CHANGE OIL EVERY WEEK!

   July 14, 2019 NHTSA ID NUMBER: 11231760
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11231760
   Incident Date July 14, 2019
   Consumer Location ORLANDO, FL
   Vehicle Identification Number N/A

   Summary of Complaint
   BATTERY DIES OVERNIGHT. CAR HAS ONLY 1000 MILES AND I’VE HAD TO JUMP
   IT 3 TIMES PLAN TO CALL DEALER FOR WARRANTY WORK, BUT I SEE FROM
   OTHER POSTINGS THAT THIS IS AN UNRESOLVED ISSUE FOR HONDA. CALLING
   THEM ANYWAY. A NEW CAR SHOULD NOT BEHAVE THIS WAY.



   August 30, 2019 NHTSA ID NUMBER: 11252372
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11252372
   Incident Date July 22, 2019
   Consumer Location LITTLE RIVER, SC
   Vehicle Identification Number 2HKRW1H91KH****

   Summary of Complaint
   TL* THE CONTACT OWNS A 2019 HONDA CR-V. THE CONTACT STATED THAT
   THERE WAS A SOFTWARE ISSUE THAT WAS CAUSING THE BATTERY NOT TO
   CHARGE AND WAS DRAINING THE BATTERY. THE VEHICLE WAS PARKED AT AN
   AIRPORT AND WOULD NOT START UPON THE CONTACT’S RETURN FROM A FIVE
   DAY TRIP. THE CONTACT HAD TO JUMPSTART THE VEHICLE. EAST COAST
   HONDA (8756A US HIGHWAY 17, BYPASS SOUTH, MYRTLE BEACH, SC 29588, (843)
   492-5175) WAS CONTACTED AND STATED THAT THEY WERE AWARE OF THE
   ISSUE. THE MANUFACTURER STATED THAT THERE WERE NOT ENOUGH
   COMPLAINTS TO ISSUE A RECALL. THE MANUFACTURER SUGGESTED THAT THE


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   CONTACT UNHOOK THE BATTERY IF THE VEHICLE REMAINED PARKED MORE
   THAN A DAY. THE CONTACT PLANNED TO TAKE THE VEHICLE FOR DIAGNOSTIC
   TESTING ON AUGUST 30, 2019. THE FAILURE MILEAGE WAS 1,900.

   November 12, 2019 NHTSA ID NUMBER: 11279556
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11279556
   Incident Date November 11, 2019
   Consumer Location GREEN BAY, WI
   Vehicle Identification Number JHLRW2H9XKX****

   Summary of Complaint
   WENT AWAY FOR A WEEKEND TRIP AND HADN’T DRIVEN THE CAR FOR 3 DAYS.
   CAME BACK AND THE BATTERY WAS TOTALLY DRAINED, HAD TO JUMP START
   THE CAR. IT HAS ROUGHLY 3,300 MILES ON THE ODOMETER. VEHICLE WAS
   STATIONARY.



   January 13, 2020 NHTSA ID NUMBER: 11299090
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11299090
   Incident Date December 24, 2019
   Consumer Location GREAT NECK, NY
   Vehicle Identification Number 2HKRW2H88KH****

   Summary of Complaint
   THE SUV WOULD NOT START AFTER NOT BEING DRIVEN FOR 2 DAYS. ROADSIDE
   ASSISTANCE WAS CALLED AND THEY TESTED THE BATTERY AND IT WAS FULLY
   CHARGED, BUT THE SUV WOULDN’T START. THE SUV WAS JUMP STARTED AND
   THE ALARM STARTED GOING OFF AND THE HEAD UNIT HAD TO BE RESTARTED.

   May 11, 2020 NHTSA ID NUMBER: 11324191
   Components: ELECTRICAL SYSTEM, UNKNOWN OR OTHER
   NHTSA ID Number: 11324191
   Incident Date May 11, 2020
   Consumer Location SAN JOSE, CA

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   Vehicle Identification Number 5J6RW1H8XKA****

   Summary of Complaint
   AFTER LEAVING VEHICLE IN GARAGE FOR 24 HOURS OR MORE, THEN
   ATTEMPTING TO START THE VEHICLE, VEHICLE WILL NOT START. AFTER USING
   BATTERY JUMP, VEHICLE WILL START AND RUN AS NORMAL. THIS HAS
   HAPPENED SEVERAL TIMES OVER THE PAST FEW MONTHS, EVEN WHEN VEHICLE
   IS RUN FOR COUPLE MILES OR MORE. *TR

   July 7, 2020 NHTSA ID NUMBER: 11337956
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11337956
   Incident Date February 7, 2020
   Consumer Location PHILO, CA
   Vehicle Identification Number 5J6RW1H80KL****

   Summary of Complaint
   TL* THE CONTACT OWNS A 2019 HONDA CR-V. THE CONTACT STATED THAT AN
   HOUR AFTER PARKING THE VEHICLE, THE BATTERY WAS DRAINED. THE
   CONTACT STATED THAT THE FAILURE RECURRED SIX TIMES. THE VEHICLE WAS
   JUMP-STARTED. THE VEHICLE WAS TAKEN TO THURSTON HONDA LOCATED AT
   2900 N STATE ST, UKIAH, CA 95482, THE FAILURE WAS DIAGNOSED. THE
   MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE VEHICLE WAS
   REPAIRED. THE FAILURE MILEAGE WAS 6,000.*DT*JB

   September 23, 2020 NHTSA ID NUMBER: 11360689
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11360689
   Incident Date August 17, 2020
   Consumer Location WELLINGTON, FL
   Vehicle Identification Number 7FARW1H81KE****

   Summary of Complaint
   TL* THE CONTACT OWNS A 2019 HONDA CR-V. THE CONTACT STATED THAT THE
   BATTERY BECAME DRAINED ON TWO SEPARATE OCCASIONS. THE VEHICLE WAS
   TOWED TO BRAMAN HONDA OF PALM BEACH LOCATED AT 5200 LAKE WORTH


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   RD, GREENACRES, FL 33463, WHERE THE BATTERY WAS REPLACED. THE FAILURE
   RECURRED AFTER TWO WEEKS AND A ROAD SIDE ASSISTANCE WAS CALLED
   AND RECHARGED THE BATTERY. THE CONTACT WAS INFORMED BY THE
   ROADSIDE SERVICE TECHNICIAN THAT IF THE VEHICLE WAS NOT DRIVEN UP TO
   20 MILES PER DAY, THE BATTERY WOULD BE DRAINED. THE TECHNICIAN
   STATED THAT THE FAILURE WAS COMMON WITH THE MAKE AND MODEL AND
   THAT THE DEALER WOULD NOT DISCLOSE THAT INFORMATION. THE CONTACT
   CALLED THE SAME DEALER WHO CONFIRMED THE INFORMATION AND TOLD
   THE CONTACT TO BUY A JUMPER CABLE. THE MANUFACTURER WAS MADE
   AWARE OF THE FAILURE AND PROVIDED A CASE NUMBER. THE FAILURE
   RECURRED. THE VEHICLE WAS NOT REPAIRED. THE FAILURE MILEAGE WAS
   8,900.

   December 30, 2020 NHTSA ID NUMBER: 11385578
   Components: ELECTRICAL SYSTEM, UNKNOWN OR OTHER
   NHTSA ID Number: 11385578
   Incident Date December 27, 2020
   Consumer Location ROCKY MOUNT, VA
   Vehicle Identification Number 5J6RW2H88KL****

   Summary of Complaint
   ON AUGUST 28 I WENT TO START MY CAR AND IT WOULD NOT TURN ON. I
   CALLED THE DEALERSHIP AND THEY JUMPED IT AND THE CAR STARTED. THEY
   TESTED THE BATTERY AND IT WAS FINE BUT CHANGED IT ANYWAY. ON
   DECEMBER 23 IT WOULD NOT START AND HAD TO BE JUMPED. THIS HAPPENED
   AGAIN ON DECEMBER 26 AND 27. THE CAR IS CURRENTLY AT THE DEALERSHIP.
   THEY HAVE SAID NOTHING IS WRONG WITH THE BATTERY OR THE CAR EVEN
   THOUGH THIS HAS HAPPENED TO MULTIPLE 2019 CR-VS.

   April 23, 2021 NHTSA ID NUMBER: 11413556
   Components: ELECTRICAL SYSTEM
   NHTSA ID Number: 11413556
   Incident Date February 25, 2020
   Consumer Location ROGERS, AR
   Vehicle Identification Number 2HKRW2H95KH****

   Summary of Complaint



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   STARTING AT ABOUT 7MONTHS VEHICLES BATTERY DIED AND UNABLE TO
   START LEAVING ME STRANDED. DEALER REPLACED BATTERY. CONDITION
   RETURNED 2 MORE TIMES OVER THE NEXT YEAR. DEALER DID A SOFTWARE
   UPDATE SERIVICE BULLENTIN SB19-039. DID NOT FIX THE PROBLEM. FAILED
   AGAIN. FEB 2021, DEALER REPLACED BATTERY AGAIN. HONDA FEILD
   TECHNICAL SPECIALIST SENT SPRFICILY TO DIAGANOSE VEHICLE CLAIMED NO
   PROBLEMS FOUND. AS OF 4/23/21 CURENTLY IN LEMON LAW SUIT WITH HONDA
   AMERICA OVER THIS ISSUE.
                  3.      Consumer complaints on online forums

          90.     In addition to NHTSA complaints, customers complained about the Parasitic Drain

   Defect in Class Vehicles on various consumer websites and car forums.

          91.     For example, there are multiple forums dedicated to complaints from consumers

   related to the Defect contained in Class Vehicles on carcomplaints.com. These forums contain

   numerous posts from drivers that have suffered from battery draining issues, have had trouble

   starting their vehicles, or experienced stalling while driving their vehicles:

                 “Battery has gone dead several times over the years. I don’t drive all the
                  time so I’ve gone out to a dead battery probably about 7 times in the last
                  year.”

                 “Tried to start my car and all I got was clicking with lights flashing on the
                  dash. I called the HondaLink Roadside Assistance. They sent AAA to jump
                  my battery. The AAA guy says he’s jumped a lot of 2017 CR-V’s with the
                  same problem. I am taking the car to the dealer to see what solution they
                  have for me.”

                 “Battery is dead after 2 days sitting, sometimes overnight.”

                 “have 9000 mileage, yesterday was the 6th time that my battery has gone
                  dead.”22




   22
       Battery    Keeps     Going  Dead,  2017     Honda      CR-V,     CARCOMPLAINTS.COM,
   https://www.carcomplaints.com/Honda/CR-V/2017/electrical/battery_keeps_going_dead.shtml
   (last visited May 24, 2021).


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          92.    A separate forum on carcomplaints.com has several other complaints related to the

   Defect in Class Vehicles:

                “Purchased 2019 “Honda Certified” CR-V EX-L with about 15,000 in
                 August 2020. Since then I’ve had to have the battery jumped 4 times. First
                 time I thought it was just a fluke – but now after searching and finding lots
                 of complaints, I see I’m not alone. Have contacted the dealership for next
                 steps to determine if the “software update” some have spoken of will help.”

                “Problem first occurred after 4 months of ownership. Tried to start car,
                 battery was dead, towed to dealer, they replaced battery. Six months later
                 same problem, towed to dealer, they did a ‘hard reset of ecm’. Six months
                 later, same problem, towed to dealer, they still have the car. This car has
                 about 8500 miles on it.”

                “My 2019 Honda CRV ‘s battery continues to go dead. Only had the car
                 2weeks. Purchased the car Feb 5th, 2019,problem started Feb 20 and then
                 again on the 28th of Feb. Dealer said it is a software problem that when car
                 sits overnight the car automatically does a diagnostic anddrainthe battery.
                 No fix yet and dealer does not know when there will be a fix. Dealer said
                 they are working on a software update. In the meantime dealer said I need
                 to keep the gas tank full and drive he [sic] car 20 minutes everyday.
                 REALLY!!!! Dealer want me to use a trickle charger everyday to keep
                 battery charged. I contacted American Honda and received a case number.
                 I paid 30,000 for this car and am afraid to dive it. I am still waiting for
                 Honda to fix this problem.” In an update from March 21, 2019, the driver
                 continued: “Just received a call from my car dealer they have a software
                 update. Bringing my car in tomorrow the 22nd. for the computer update on
                 my car. This is supposed to be the fix for the battery constantly going dead.
                 I will keep you posted.” An additional update posted on Mar 28, 2019 states
                 “Had software update on March 22. Not sure if it has worked yet. I am
                 lettting [sic] it sit for at least 5 to six days to see if it starts . My concern is
                 that other owners of the 2019 CRV had the software update and found that
                 while driving on the highway their car lost power. In am also on CarGuru
                 site where there are multiple owners with the same problem. I will keep you
                 updated.”




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                 “Battery dies if car sits more than 2 days, American Honda has no results in
                  resolving this problem, Told American Honda need the vehicle to go back
                  and forth to the hospital, how do I resolve the problem, no solution,”23

          93.     Another popular forum for complaints regarding cars, cargurus.com, also has

   numerous forums dedicated to issues relating to the Defect contained in Class Vehicles with

   several posts from drivers:

                 “2019 Honda CRV Touring AWD battery has gone dead after being parked
                  for 3 days in garage for the second time in less than 3 months. Boosted
                  vehicle twice and took it into dealer. Could not find a problem battery,
                  charging system and parasitic load all checked out. Is this a common
                  problem?”

                 “Bought a 2019 new CRV honda in Jan 2019, from Burns Honda Marlton
                  NJ twice I’ve had battery replaced despite the new software update. Battery
                  replaced May 27 and July 10, 2019. They said it was a dead cell. Was told
                  the first time it would be okay and now they are saying that the same. I don’t
                  think that they care. The problem still persists .It should be some legal action
                  taken ie class action suit or lemon law. Replacing battery and software
                  update did not help. Winter is not here yet”

                 “My 2019 crv battery has died twice, even after the recall update. It cannot
                  sit more than 3 days. They suggested I get a Jump Start kit or make
                  arrangements for someone to come and start it when I’m out of town
                  .....really!! UNACCEPTABLE. It is new and I’m not standing for this. I will
                  get a lawyer or whatever I have to do, up to includiing [sic] a new car!!!!
                  Right now I hate this vehicle and would not recommend a Honda to
                  anyone.”

                 My 2019 CRV was not started for 1 week due to the corona virus issue.
                  When I tried to start it, 3/26/2020, the battery was dead, measured 5 volts.
                  The 19-039 software update meant to solve this problem had been installed
                  the previous September. I contacted Honda support via email. Their brilliant
                  suggestion was to wait until it happens again and have the car towed to the
                  dealer for diagnosis of the problem. The same thing happened to my brother
                  who also owns a 2019 CRV. He DID have his towed to the dealer, they

   23
       Dead        Battery,      2019      Honda          CR-V,         CARCOMPLAINTS.COM,
   https://www.carcomplaints.com/Honda/CR-V/2019/electrical/dead_battery.shtml (last visited
   May 24, 2021).


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                 could find no cause. There is obviously a discharge problem that 19-039 did
                 not solve and Honda will not admit to it. I now keep my CRV on a battery
                 charger if I do not expect to drive it for more than two days. Sort of
                 disappointing to have to do this with a car a little over 1 year old that I paid
                 almost 30k for.24

          94.    A separate forum on cargurus.com in which the driver asks “after sitting in my

   garage for 2 days why is the battery dead in my Honda 2019 crv?” has 280 responses, many of

   which are made by drivers complaining of similar issues related to the Defect found in Class

   Vehicles:

                “My battery went dead after two days onTuesday ...went to dealer , I am the
                 4 th one reporting the problem..dealer told me that engineers are working
                 on the problem”

                “have the same problem with my crv 2019I have it 3 weeks and two times
                 went completely dead. Dealer replaced battery the first time , the second
                 time that said it’s something with the software. They said software needs
                 updating should have the problem fixed in two months. I want them to take
                 the care back. I am not paying for something I can’t drive unless I jump it.”

                “My dealer would not give me a new battery unless I paid him $165 for one.
                 I had 127 miles on it, they charged it up and said the battery was ok and the
                 next morning it was dead, so I bought a jump starter, hope they get
                 something going on it soon be cause a new $35K crv should start. This is
                 my 3rd Honda crv and the LAST.”

                “This is my problem too, bought it January 7 and in a few days it will be
                 two months. Still not fixed. It has been dead 8 times to date. It goes dead in
                 3 days or less in the garage, nothing is left turned on. It has been to the
                 dealer for several days a couple times, and sent back cause “nothing was
                 found wrong with it”. Finally they got the battery to go dead for them and
                 put in a larger battery. That worked well for a few days and now it also goes
                 dead. So we have to drive it every day to put some charge back in. I also
                 bought a Jumpit pack which is helpful. But why should I have to do all this?
                 Mine is a 2019 Honda CRV - EX. Honda I am asking politely “Will you fix
                 my car very soon or replace it without charging me $3000” as I was told it

   24
      2019 honda crv battery drain, CARGURUS, https://www.cargurus.com/Cars/Discussion-
   t84281_ds1013927 (last visited May 24, 2021).


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                 would take to get into another car? I already paid cash for this one so better
                 treatment to this guest would be a big plus.”

                “I’m having the same issue with my battery drainage!!! I’m so upset! It will
                 be 30 days tomorrow since I’ve had the car! I’m not sure if I should return
                 it or what???”

                “Same thing happened to me about 2 weeks after I bought mine. Jumped it
                 and made an appointment with the dealership because odd things were
                 happening after that such as heat not working well, etc. They determined
                 the battery was low and also told me the same thing someone else here said
                 - it’s a problem with one of the systems running a scan. A software fix
                 should be out in a month - in the meantime, after turning the car off turn it
                 on again immediately and then back off. That should prevent the scan from
                 running. That was 4 days ago and so far it has started.....but I’m in
                 agreement that we shouldn’t be having to do this for a brand new Honda
                 product.”25

          95.    And, as detailed herein, several of the posts in this forum reference reporting the

   issues directly to Honda’s customer service division, providing Honda with direct knowledge of

   the Defect and the hazards associated with the Defect.

          96.    A popular Honda forum for CR-V owners, crvownersclub.com also contains

   several complaints from drivers caused by the Defect in Class Vehicles:

                “we also have a 17 CR-V. had to replace the battery this year.”

                We have a 2017 CRV, that we had the issue with the battery draining, and
                 had the TSB done about a year ago and it has been fine since then, until the
                 other morning. Wife went to start it, and it was dead, we jumped it off, and
                 she went to work (30mile commute), that evening it cranked, but slowly.
                 The next morning it was dead, jumped it off, she went to work, that evening
                 it barely cranked but did and she drove the 30 miles home. After she got
                 home, I thought it was probably the battery, and I’d just put a new battery
                 in even though it was under warranty. Went to the parts place, and they
                 tested the battery, and it tested fine. At the parts place it cranked fine, about
                 4 times, like it was fully charged. We went across the street, and got gas,

   25
      battery,          CARGURUS,             https://www.cargurus.com/Cars/Discussion-
   t84281_ds1000311?%20sntEmlId=2691151973#msg953400 (last visited May 24, 2021).


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                 and went to crank it, and it would not turn over, and the lights were barely
                 on. Tried to open the hatch to get the jumper cables and it would not open
                 on its own, I had to pull the hatch up. I checked the connections at the
                 battery, and they are tight, I tried to wiggle them, and they would not move.
                 I really wish this thing had a volt meter. We’ve got an appointment with the
                 dealer tomorrow. Any ideas??26

                I just had the battery issue after 2 years. I had to jump start my CRV each
                 time. I had to pay 200.00 for a new battery because I was over the 36,000
                 miles. Pretty crappy after you pay money and only get 2 years on the battery.
                 Shame on you Honda!27

          97.    A simple google search reveals several other forums with numerous complaints

   from drivers regarding the Defect in Class Vehicles.

                 4.      Complaints Made Directly to Honda’s Customer Service
                         Division

          98.    In addition to the numerous complaints submitted to the NHTSA and posted on

   various consumer and car forums, Honda also learned of the Parasitic Drain Defect directly from

   complaints received by Honda’s customer relations division.

          99.    As part of its Global Honda Quality Standard, Honda had procedures in place to

   deal with “quality issues after sales” in which dealerships “collect quality information from

   customers in a timely manner.”

          100.   Honda utilizes a customer relations center which “receives feedback in the form of

   customer questions, suggestions, requests and complaints 365 days a year.” And to “ensure that



   26
       Battery/Starting    issue      2017         CRV,         CR-V       OWNERS                CLUB,
   https://www.crvownersclub.com/threads/battery-starting-issue-2017-crv.199757/ (last           visited
   May 24, 2021).
   27
       Battery/Starting   issue   2017      CRV,       CR-V      OWNERS      CLUB,     at    2,
   https://www.crvownersclub.com/threads/battery-starting-issue-2017-crv.199757/page-2    (last
   visited May 24, 2021).


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   this valuable information is put to good use in Honda’s operations, the facility shares it in a timely

   manner with the company’s R&D, manufacturing, service and sales departments.”

          101.    “Honda has established a Quality Center to bring together the various components

   of our organization concerned with product market quality information to enhance the functions

   of ‘preventing quality issues’ and ‘quickly detecting and resolving quality issues when they occur’

   on a global scale.”

          102.    Honda also maintains a Technical Research & Support (“TRS”) Group at its

   California headquarters which is responsible for, among other things, identifying and investigating

   potential defects in Honda vehicles.

          103.    Upon information and belief, Honda’s customer relations division received

   numerous reports of the Parasitic Drain Defect and the premature failure of Class Vehicle batteries.

          104.    In fact, drivers referenced reports made directly to Honda’s customer service

   division in posts made on many online forums in which they were discussing the Defect in Class

   Vehicles, providing Honda with direct knowledge of the Defect and the hazards associated with

   the Defect:

                 “Everyone having this battery drainage problem please call Honda and
                  report it at 1-809-999-1008 x155. This is to Consumer Services, I believe.
                  They took all of the dates the story etc. They gave me a case number and
                  the report will go to Case Management. I was told they would call me in 1-
                  2 days. I was on the phone with them for about an hour. I have no idea what
                  they will do for me, if anything, but they need to know how widespread this
                  problem is. Don’t count on the dealership to report it. My car has been
                  towed 5 times all through Honda Roadside assistance but only 2 of the 5
                  dates had a service report filed from the dealership. Write down the dates
                  your car was dead and what the outcome was. Like was it towed to
                  dealership, what did they say, was it jumped and you drove it. All of it.
                  Write it out on paper or keep a running document on your computer or on
                  your phone calendar. You will need all of this in case you decide to pursue


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                  something through the lemon law in your state. I refuse to be stuck with this
                  car! It’s been a very very productive morning.”

                 “I also called HONDA CUSTOMER SERVICE AND ASK THEM TO
                  FIND OUT WHY THE BATTERY WOULD DIE AFTER SITTIG IN MY
                  GARAGE FOE 2 DAYS AND SHE SAID THEY WERE AWARE OF
                  THE DEAD BATTERY PROBLEM, BUT HAD NO ANSWER FOR IT.
                  SHE SAID TO TALK TO THE DEALER AND I TOLD HER I did 3 times
                  and they had no answer for it, I got a case Number. Big Deal.”

                 We purchased our CRV on 2/21. On the morning of 3/3 it would not start
                  due to a dead battery. I jump started it and let it run to charge the battery
                  back up. On the morning of 3/4 it would not start again. Jumped it and drove
                  to the dealership. They tested the battery and said it was OK. They stated
                  this was a known design problem due to the evaporative emissions system
                  trying to test the gas tank overnight. They said to keep the gas tank more
                  than 3/4 filled and it would be OK. This means filling the tank every night.
                  Filled the tank. On the morning of 3/5, no start again. We brought it to the
                  dealership and got a loaner Civic to drive for the rest of the month. The evap
                  test should not run with more than 3/4 tank of gas. The evap test should not
                  run when the ambient temperature is below freezing. Overnight
                  temperatures currently are in the single digits and teens. It should not be
                  running this test. There is no current fix for this condition. We have about
                  600 miles on our new car that we cannot use. I have called Honda and started
                  a case, we will see what happens next. If you have a car with this problem,
                  call Honda, let them know about it and get a case number. Keep a log of all
                  events involving your car and the people/companies you contact.28

                  5.      Dealership Repair Records and Replacement Parts Sales Data

          105.    Honda also has direct knowledge of the Defect as it collects and analyzes field data

   including service reports and repair records as well as orders for new batteries for Class Vehicles.

          106.    As all of Honda’s service centers are required to order replacement parts such as

   batteries directly from Honda, Honda knew or should have known about the Defect and risk of




   28
      battery,          CARGURUS,             https://www.cargurus.com/Cars/Discussion-
   t84281_ds1000311?%20sntEmlId=2691151973#msg953400 (last visited May 24, 2021).


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   premature failure due to the high number of replacement batteries and other parts that were ordered

   to address the issue.

          107.    The increase in orders of batteries and other parts necessary to fix damage caused

   by the parasitic drain Defect contained in Class Vehicles should have alerted Defendant that this

   is a widespread issue that poses numerous safety issues.

                  6.       Warranty and Post-Warranty Claims

          108.    Honda’s warranty department reviews and analyzes warranty data submitted by its

   authorized dealerships in order to identify defects in its vehicles. When a repair is made under

   warranty (or warranty coverage is requested), Honda must be provided with detailed

   documentation of the problem.

          109.    As Honda’s new vehicle warranty covers the electrical system and batteries of Class

   Vehicles, claims made regarding battery failure as a result of the Defect would have been reported

   to Honda.

          110.    And, although Honda began sending notices about a no-start condition in certain

   Class Vehicles in February 2017 and later initiated a battery collection program, Honda failed to

   disclose the existence and nature of the Defect to consumers, and failed to provide a permanent

   and reliable solution to the Parasitic Drain Defect. As a result, Plaintiffs and Class Members are

   left with vehicles that do not meet the safety, reliability, or quality standards touted by Defendant.

          111.    Had Plaintiffs and the Class Members known about the Defect, they would not have

   purchased or leased their Class Vehicles or would have paid significantly less.




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          E.      Honda Failed to Warn Consumers of the Parasitic Drain Defect

          112.    Despite its knowledge of the Defect in the Class Vehicles, Defendant actively

   concealed the existence and nature of the Defect from Plaintiffs and Class members. Specifically,

   Defendant failed to disclose or actively concealed at and after the time of purchase, lease, or repair:

                  (a)     any and all known material defects or material nonconformity of the Class

   Vehicles, including the defects pertaining to the battery;

                  (b)     that the Class Vehicles, including the battery, were not in good in working

   order, were defective, and were not fit for their intended purposes;

                  (c)     that the Class Vehicles and batteries were defective; and

                  (d)     that the defect posed significant safety issues to drivers.

          113.    Instead of disclosing the Defect to consumers, Honda concealed this material

   information from consumers and continued to tout the quality, safety, and reliability of Class

   Vehicles.

          F.      Honda Failed to Develop a Permanent and Reliable Solution to the
                  Defect

          114.    Honda has yet to provide owners and lessees a permanent and reliable solution to

   the Defect or implement a recall on Class Vehicles. Instead, through a series of internal service

   bulletins, Honda has instructed authorized dealers to update internal software or replace dead

   batteries, neither or which provides an adequate remedy to the parasitic draining Defect nor allows

   the Class Vehicles to live up to the quality, safety, and reliability standards so often touted by

   Honda. Honda did not disclose the true nature and scope of the Defect to consumers.

          115.    For example, on February 22, 2017, Honda filed an “Engineering Request for

   Investigation” with the NHTSA stating that it was “investigating certain 2016-2017 Accord V6s


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   with a customer complaint of a no-start condition that requires the 12V battery to be replaced. To

   fully understand the cause of this condition, [Honda] would like to collect specific parts from the

   vehicle prior to you attempting a repair of any kind.”29

          116.    The next day, Honda sent a message to all Honda service managers/ advisors with

   the subject “Request for Parts: 2016-2017 Accord V6 12V Battery Failure” requesting specific

   parts where a battery test indicated that battery replacement was needed. Neither document

   identified the basis for Honda’s decision to collect the vehicle batteries other than customer

   complaints of a no-start condition.

          117.    The information regarding the investigation or battery collection was not shared

   with Plaintiffs or other consumers.

          118.    On March 6, 16, and 27, 2017, and June 30, 2017, Honda issued additional

   messages regarding the same issue to all Honda service managers/ advisors.

          119.    Honda’s communication with its dealerships regarding battery issues was not

   limited to the Accord.

          120.    On March 10, 2017, Honda issued a “Tech Line Summary Article” notifying

   dealerships that it had conducted an “investigation” into 2017 CR-Vs being brought in for weak

   or dead batteries, yet the vehicles and battery “check out ok.”30 Honda stated that it “found that a

   software bug in the VSA [Vehicle Stability Assist] system may be keeping it awake when the



   29
       NHTSA ID No.: 10108050, Manufacturer Communication Number: AER17020B, available at
   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108050-9340.pdf (last visited May 24, 2021).
   30
       NHTSA ID No.: 10108281, Manufacturer Communication Number: ATS170301, available at
   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108281-9340.pdf (last visited May 24, 2021).


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   ignition is turned to OFF. This can cause a 350 mA parasitic draw that may result in a weak or

   dead battery.” Honda stated that it “found that this issue appears to happen only when a certain

   shut down procedure is done, and it’s rare when it does.” Although it acknowledged the issue,

   Honda did not have a “fix” and instead suggested that “this parasitic draw can be avoided by setting

   the electric parking brake before turning the ignition to OFF.” Honda then instructs to “Be sure to

   let the service advisors know about this so they can inform any customers coming in for this issue.”

          121.    Thus, consumers who brought their cars in for repairs were led to believe that there

   was a software issue and that a fix would be coming. Unfortunately for Plaintiffs and other

   consumers this “fix” never came.

          122.    Honda issued Service Bulletin 17-03231 on June 14, 2017, which warned

   dealerships that 2017 CR-Vs “may have an intermittent 350mA current draw after the vehicle is

   shut off” and that as a result “[t]he vehicle does not start due to a low battery.” Honda stated that

   the “possible causes” for the parasitic draw was that the “VSA software logic may not allow the

   VSA modulator-control unit to shut down correctly and go into sleep mode after the vehicle is shut

   off. This can happen if the electronic parking brake (EPB) is applied within 3 to 4 seconds of the

   vehicle being shut off or if the EPB switch is held for a 3 to 4 second duration when the vehicle is

   off.” Honda’s proposed “corrective action” was to “[u]pdate the VSA modulator-control unit, do

   the VSA sensor neutral position memorization (ALL SENSOR), set the tire pressures to the

   driver’s door jamb label cold inflation values, and do the TPMS calibration procedure.”




   31
      NHTSA ID No.: 10108868; available at https://static.nhtsa.gov/odi/tsbs/2017/MC-10108868-
   9999.pdf (last visited May 24, 2021).


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          123.    However, once again, the proposed “corrective action” did not provide a permanent

   or reliable solution to the Defect nor rendered the Class Vehicles safe and reliable.

          124.    On October 24, 2018, Honda announced that it had launched a battery collection

   program for 2017-2018 CR-Vs.32 This time, Honda’s “Service Engineering” department sent a

   message to “Honda Dealers,” instructing the Dealers to ship the batteries to Honda and to contact

   Honda’s TRS Group for more information if the dealership “replaced an OEM battery on a

   qualified vehicle.”

          125.    On March 29, 2019, Honda issued Service Bulletin 19-039, regarding 2019 CR-Vs

   with the statement that the “vehicle fails to start after being parked for an extended period.”33

   Honda explained that “[a]fter the vehicle is parked for an extended period, the PCM begins an

   evaporative system leak check after meeting certain criteria. Under certain conditions, it may not

   return to sleep mode, causing the battery to discharge.” Honda proposed similar “corrective

   action”: “Update the PCM with the latest PGM-FI software. If the customer indicates the vehicle

   failed to start, clear DTCs and do the VSA sensor neutral position memorization. If the vehicle

   does not start, check the battery using the GR8 diagnostic station, clear DTCs, and do the VSA

   sensor neutral position memorization. Based on the GR8 test result, charge or replace the battery.”

          126.    Once again, this “corrective action” failed to provide a permanent or reliable

   solution to the Parasitic Defect.


   32
      NHTSA ID No.: 10147183, Manufacturer Communication Number: APaS10242018901,
   available at https://static.nhtsa.gov/odi/tsbs/2018/MC-10147183-9999.pdf (last visited May 24,
   2021).
   33
       NHTSA ID No.: 10156620, Manufacturer Communication Number: A19-039, available at
   https://static.nhtsa.gov/odi/tsbs/2019/MC-10156620-0001.pdf (last visited May 24, 2021).


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          127.    Also on March 29, 2019, Brad Ortloff, a Honda “Manager of Auto Campaigns and

   Recalls” issued a communication to “All Honda Sales, Service, & Parts Managers, and Personnel,”

   “announcing a Product Update for certain 2019 CR-V vehicles to address a concern related to a

   possible low battery state of charge and/or no start after the vehicle has been parked.”34 Honda

   stated that “[t]he FI-ECU[, which] checks for EVAP leaks 5 hours after vehicle shutdown. Due to

   a programming error, this system may not go back into sleep mode afterwards. As a result, the

   battery may drain if this condition exists for an extended period of time.” Honda once again

   suggested that battery replacement may be necessary.

          128.    Honda sent another message to Honda Service Managers on April 16, 2019, stating

   that “[Honda] has been collecting batteries from [2018-2019 Accords and 2017-2018 CR-Vs]

   under certain conditions. If you have replaced an OEM battery on a qualified vehicle, please

   follow the procedure below.”35 Service Managers were instructed to ship the batteries to Honda

   and to contact Honda’s TRS Group for more information if the dealership “replaced an OEM

   battery on a qualified vehicle.”

          129.    On August 30, 2019, Honda issued an Owner Notification Letter for 2019 CR-Vs,

   warning: “After the vehicle is parked for an extended period, the powertrain control module

   (PCM) begins an evaporative system leak check after meeting certain criteria. Under certain



   34
      NHTSA ID No.: 10156621, Manufacturer Communication Number: ABOM03292019,
   available at https://static.nhtsa.gov/odi/tsbs/2019/MC-10156621-0001.pdf (last visited May 24,
   2021).
   35
      NHTSA ID No.: 10159033, Manufacturer Communication Number: APaS04162019903,
   available at https://static.nhtsa.gov/odi/tsbs/2019/MC-10159033-0001.pdf (last visited May 24,
   2021).


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   conditions, the PCM will not return to sleep mode, and may ultimately result in a dead battery.

   This is not an indication of a leak in the evaporative system.”36 Honda once again suggested that

   a software update was the solution to the problem.

             130.   On December 17, 2019, Honda issued an update for Service Bulletin 19-039 which

   expanded the number of 2019 CR-Vs subject to the bulletin.37

             131.   Honda knew that the proposed remedies provided in the various service bulletins

   and messages to the dealerships are insufficient and fail to correct the Parasitic Drain Defect found

   in the Class Vehicles. Honda knew that replacing the batteries and/or updating the software in

   Class Vehicles did not provide a permanent or reliable solution to the Defect.

             132.   To be sure, even after taking the corrective action suggested by Honda, drivers

   continued to report problems associated with the Defect such as battery failure.

             133.   Instead of providing a permanent and reliable solution to the Parasitic Drain Defect,

   Honda left consumers with a vehicle that is unreliable and unsafe to operate as a result of the

   Defect.

             G.     The Damage Caused by the Parasitic Drain Defect

             134.   Plaintiffs and Class members purchased or leased the Class Vehicles based on their

   reasonable but mistaken belief that their Vehicles were of high quality, reliable, safe, and free of

   defects. However, the Class Vehicles delivered by Honda were not those for which Plaintiffs and


   36
      NHTSA ID No.: 10164478, Manufacturer Communication Number: ONLO4G08302019,
   available at https://static.nhtsa.gov/odi/tsbs/2019/MC-10164478-0002.pdf (last visited May 24,
   2021).
   37
       NHTSA ID No.: 10169977, Manufacturer Communication Number: A19-039, available at
   https://static.nhtsa.gov/odi/tsbs/2019/MC-10169977-0001.pdf (last visited May 24, 2021).


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   Class members bargained. Rather, the Class Vehicles suffered from a common defect – the

   parasitic drain Defect. Had Plaintiffs and Class members known of the Defect, they would have

   either: (a) paid substantially less for the Class Vehicles; (b) required an immediate remedy that

   restored the Vehicles to the conditions bargained for; or (c) not purchased or leased the Vehicles.

          135.    As a result of the disparity between the quality of the Class Vehicles negotiated for

   and the Vehicles actually received, Plaintiffs and Class members suffered economic harm. This

   economic harm can be quantified as: (a) the economic value of an effective remedy that restores

   the Class Vehicles to their expected conditions (or the economic harm from the lack of that

   remedy); (b) the discount that Plaintiffs and Class members would have required to accept the

   Vehicles in their actual condition; and/or (c) the diminished value of the Vehicles.

          136.    Plaintiffs and Class members paid premiums to purchase and lease the Class

   Vehicles as a result of the quality, reliability, and safety representations made by Honda. A vehicle

   purchased or leased with the reasonable expectation that it is of high quality and reliable as

   advertised is worth more than a vehicle known to be subject to the problems or risks associated

   with the Defect. Plaintiffs and Class members were harmed from the day they drove their Class

   Vehicles off the lot because they did not get what they paid for – a high-quality, safe and reliable

   vehicle free from defects.

          137.    As a direct result of Honda’s misrepresentations and omissions, Plaintiffs and Class

   members overpaid for their Class Vehicles and did not receive the benefit of their bargain.

   Plaintiffs and Class members paid a premium for the Class Vehicles, which Honda advertised as

   being high-quality, safe and reliable, and received Vehicles that contained a known but concealed

   defect that posed significant safety hazards and reliability issues to consumers. Honda was


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   unjustly enriched because it obtained and retained monies paid by Plaintiffs and Class members

   who paid a price for the Class Vehicles that was higher than the value of the vehicles they received

   in return.

           138.   As a result of Honda’s unfair, deceptive, and/or fraudulent business practices, and

   its failure to disclose the Defect and the problems associated therewith, owners and lessees of the

   Class Vehicles have suffered losses in money and/or property.

           H.     Honda Breached Express Warranties Covering Class Vehicles

           139.   The Class Vehicles sold and leased by Honda are covered by a 3-Year/36,000-Mile

   New Vehicle Limited Warranty which includes repairs on “any part that is defective in material or

   workmanship under normal use.” The warranty period begins once “[t]he vehicle is delivered to

   the first purchaser by a Honda automobile dealer” or “[t]he vehicle is leased.”

           140.   The electrical system and original battery included in Class Vehicles are covered

   by the New Vehicle Limited Warranty.

           141.   Honda also provides a “Replacement Battery Limited Warranty” which covers

   batteries purchased from a Honda automobile dealer for 100 months. Under the Replacement

   Battery Limited Warranty, during the first 36 months, defective replacement batteries are to be

   replaced at no cost. For the remaining 64 months, the warranty provides for a credit towards the

   purchase of a replacement battery. The amount of credit provided decreases each year, and the

   owner/lessee is responsible for labor costs after the first three years.

           142.   Buyers and lessees have no pre-sale/lease knowledge or ability to bargain as to the

   terms of the warranties.




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          143.    The Defect is covered under Honda’s warranties. Honda breached these warranties

   by failing to provide a permanent and reliable remedy to the Defect in the Class Vehicles.

          144.    When owners and lessees bring their car for repairs needed as a result of the Defect,

   Honda does not disclose the true nature and scope of the Defect, and only provides temporary fix

   solutions such as software updates or replacement batteries. Since the solutions provided by

   Honda do not remedy the underlying Defect, the need for further repairs or replacement batteries

   is inevitable, even after the expiration of Honda’s warranties.

          145.    Since Class Members have not been provided with a permanent and reliable repair

   of the Defect, Honda has breached the express and implied warranties covering Class Vehicles.

          146.    Honda’s attempt to disclaim or limit these express warranties is unconscionable and

   unenforceable here as Honda knowingly sold or leased a defective product without informing

   consumers about the Parasitic Drain Defect. The time limits contained in Honda’s warranty

   periods are also unconscionable and inadequate to protect Plaintiffs and other Class members.

   Plaintiffs and other Class members had no meaningful choice in determining these limitations, the

   terms of which unreasonably favored Honda. A gross disparity in bargaining power existed

   between Honda and Class members, and Honda knew of the Defect at the time of sale.

          147.    The Defect impacts the core functionality of the Class Vehicles as it leaves owners

   and lessees with vehicles that are inoperable and unsafe and unreliable. Clearly this is not was

   consumers anticipated when purchasing or leasing a new car.

          I.      Fraudulent Concealment Allegations

          148.    Absent discovery, Plaintiffs are unaware of, and unable through reasonable

   investigation to obtain, the true names and identities of those individuals at Honda responsible for



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   disseminating false and misleading marketing materials and information regarding the Class

   Vehicles. Honda is necessarily in possession of, or has access to, all of this information.

          149.    Plaintiffs’ claims arise out of Honda’s fraudulent concealment of the Defect and

   the battery failure, safety and reliability issues it causes, despite Honda’s representations regarding

   the quality, safety, and reliability of the Class Vehicles.

          150.    To the extent that Plaintiffs’ claims arise from Honda’s fraudulent concealment,

   there is no one document or communication, and no one interaction, upon which Plaintiffs base

   their claims. Plaintiffs allege that at all relevant times, including specifically at the time they

   purchased or leased their Class Vehicles, Honda knew, or was reckless in not knowing, of the

   Defect; Honda was under a duty to disclose the Defect based upon its exclusive knowledge of it,

   and Honda never disclosed the Defect to Plaintiffs or the public at any time or place or in any

   manner.

          151.    Plaintiffs make the following specific fraud allegations with as much specificity as

   possible, although they do not have access to information necessarily available only to Honda:

                  (a)     Who: Honda actively concealed the Defect from Plaintiffs and Class

   members while simultaneously touting the quality, safety and reliability of the Class Vehicles.

   Plaintiffs are unaware of, and therefore unable to identify, the true names and identities of those

   specific individuals at Honda responsible for such decisions.

                  (b)     What: Honda knew, or was reckless or negligent in not knowing, that the

   Class Vehicles contain the Defect. Honda concealed and failed to disclose the Defect while

   making contrary representations about the quality, safety, reliability, and other attributes of the

   Class Vehicles.


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                  (c)     When: Honda concealed and omitted material information regarding the

   Defect at all times while making representations about the quality, safety, and reliability of the

   Class Vehicles continuing to this day. Honda still has not disclosed the truth about the Defect and

   has never taken any action to inform consumers about the true nature of the Defect in Class

   Vehicles. When consumers brought their vehicles to Honda complaining of the Defect, Honda

   denied any knowledge of or an adequate repair for the Defect.

                  (d)     Where: Honda concealed and omitted material information regarding the

   Defect in every communication with Plaintiffs at all times while making contrary representations

   about the quality, safety and reliability of the Class Vehicles. Plaintiffs are aware of no document,

   communication, or other place or thing in which Honda has disclosed the truth about the Defect in

   the Class Vehicles. Such information is not adequately disclosed in any sales documents, displays,

   advertisements, warranties, owner’s manual, or on Honda’s website.

                  (e)     How: Honda concealed the Defect from Plaintiffs and Class members and

   made representations about the quality, safety and reliability of the Class Vehicles. Honda actively

   concealed the truth about the existence and nature of the Defect from Plaintiffs and Class members

   at all times, even though it knew about the Defect and knew that information about the Defect

   would be important to a reasonable consumer, and Honda promised in its marketing materials that

   the Class Vehicles have qualities that they do not have, and moreover, made representations in its

   warranties that it knew were false, misleading, and deceptive.

                  (f)     Why: Honda actively concealed material information about the Defect in

   Class Vehicles for the purpose of inducing Plaintiffs and Class members to purchase or lease the

   Vehicles, rather than purchasing or leasing competitors’ vehicles and made representations about


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   the quality, safety and reliability of the Vehicles. Had Honda disclosed the truth, for example, in

   its advertisements or other materials or communications, Plaintiffs (and reasonable consumers)

   would have been aware of it, and would not have bought the Class Vehicles or would have paid

   less for them.

                      VI.      TOLLING OF THE STATUTE OF LIMITATIONS

          A.        Fraudulent Concealment Tolling

          152.      Any applicable statute of limitation has been tolled by Honda’s knowledge, active

   concealment, and denial of the facts alleged herein, which behavior is ongoing. Honda continues

   to conceal the full and complete nature of the Defect to this day. Plaintiffs and the members of the

   Class could not have reasonably discovered the true, latent nature of the Defect. Plaintiffs’ claim

   was thus tolled pursuant to the discovery rule and for fraudulent concealment.

          B.        Estoppel

          153.      Honda was, and is, under a continuous duty to disclose to Plaintiffs and Class

   members the true character, quality, and nature of the Class Vehicles. Honda failed to disclose the

   existence of the parasitic drain Defect and actively concealed the true character, quality, and nature

   of the Class Vehicles while knowingly making representations about the quality and reliability of

   the Vehicles.     Plaintiffs and Class members reasonably relied upon Honda’s knowing and

   affirmative representations and/or active concealment of these facts. Based on the foregoing,

   Honda is estopped from relying on any statutes of limitation in defense of this action.

          C.        Discovery Rule

          154.      The causes of action alleged herein did not accrue until Plaintiffs and Class

   members discovered that their Class Vehicles contained the Defect.



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          155.    However, Plaintiffs and Class members had no realistic ability to determine that

   their vehicle suffered from the parasitic drain Defect.

          156.    Even after experiencing repeated battery failure, Plaintiffs and Class members had

   no reason to know this was caused by a defect in the Class Vehicles because of Honda’s active

   concealment of the Defect. Within any applicable statutes of limitation, Class Members could not

   have discovered through the exercise of reasonable diligence that Honda was concealing the

   conduct complained of herein and misrepresenting the true qualities of the Class Vehicles.

          157.    Class Members did not know facts that would have caused a reasonable person to

   suspect that there was a parasitic drain Defect affecting their vehicle’s battery and an ordinary

   person would be unable to appreciate that the vehicle was defective.

          158.    For these reasons, all applicable statutes of limitation have been tolled by operation

   of the discovery rule with respect to the claims in this litigation.

                                    VII.    CLASS ALLEGATIONS

          159.    Plaintiffs bring this action pursuant to Rule 23(a) and (b)(2)-(3) of the Federal Rules

   of Civil Procedure on behalf of themselves and all others similarly situated as members of the

   following Nationwide Class (under the laws of the state of Florida) and State Classes defined as:

          Nationwide Class:

          All persons or entities in the United States (including its territories and the District
          of Columbia) that purchased or leased a Class Vehicle. Class Vehicles consist of
          Honda CR-V model years 2017-2019 and Honda Accord model years 2016-2019.

          Florida Class:

          All persons or entities that purchased or leased a Class Vehicle within Florida or
          that purchased or leased a Class Vehicle and reside in Florida.




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          160.    Excluded from the Class are Honda; its employees, officers, directors, legal

   representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliates of Honda;

   Honda’s dealers; Class Counsel and their employees; the judicial officers and their immediate

   family members and associated court staff assigned to this case; and all persons within the third

   degree of relationship to any such persons.

          161.    Certification of Plaintiffs’ claims for Class-wide treatment is appropriate because

   Plaintiffs can prove the elements of their claims on a Class-wide basis using the same evidence as

   would be used to prove those elements in individual actions alleging the same claim.

          162.    This action has been brought and may be properly maintained on behalf of each of

   the Classes proposed herein under Fed. R. Civ. P. 23.

          163.    Numerosity. Rule 23(a)(1) of the Federal Rules of Civil Procedure: The members

   of the Class are so numerous and geographically dispersed that individual joinder of all Class

   members is impracticable. While Plaintiffs are informed and believe that there are at least

   thousands of members of the Class, the precise number of Class members is unknown to Plaintiffs,

   but may be ascertained from Honda’s books and records. Class members may be notified of the

   pendency of this action by recognized, Court-approved notice dissemination methods, which may

   include U.S. mail, electronic mail, Internet postings, and/or published notice.

          164.    Commonality and Predominance. Rules 23(a)(2) and (b)(3) of the Federal Rules

   of Civil Procedure: This action involves common questions of law and fact, which predominate

   over any questions affecting individual Class members, including, but not limited to:

                  (a)     whether Honda engaged in the conduct alleged herein;




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                  (b)     whether Honda advertised, marketed, distributed, leased, sold, or otherwise

   placed Class Vehicles into the stream of commerce in the United States;

                  (c)     whether Honda distributed Class Vehicles with a Defect;

                  (d)     whether Honda knew of the Defect but failed to disclose the problem and

   its consequences to their customers;

                  (e)     whether Plaintiffs and Class members overpaid for their Class Vehicles

   and/or did not receive the benefit of the bargain;

                  (f)     whether Plaintiffs and Class members are entitled to damages and other

   monetary relief and, if so, in what amount;

                  (g)     whether Honda’s alleged conduct constitutes the use or employment of an

   unconscionable commercial practice, deception, fraud, false pretense, false promise, and

   misrepresentation within the meaning of the applicable state consumer fraud statutes;

                  (h)     whether Honda has been unjustly enriched under applicable state laws;

                  (i)     whether Honda has violated its express warranties to Plaintiffs and Class

   members;

                  (j)     whether Honda actively concealed the Defect in order to maximize profits

   to the detriment of Plaintiffs and Class members; and

                  (k)     such other common factual and legal issues as are apparent from the

   allegations and causes of action asserted in this Complaint.

          165.    Typicality. Rule 23(a)(3) of the Federal Rules of Civil Procedure: Plaintiffs’

   claims are typical of the other Class members’ claims because, among other things, all Class

   members were comparably injured through Honda’s wrongful conduct as described above. All


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   claims seek recovery on the same legal theories and are based upon Honda’s common course of

   conduct.

          166.    Adequacy. Rule 23(a)(4) of the Federal Rules of Civil Procedure: Plaintiffs are

   adequate Class representatives because their interests do not conflict with the interests of the other

   members of the Class they seek to represent; Plaintiffs have retained counsel competent and

   experienced in complex class action litigation; and Plaintiffs intend to prosecute this action

   vigorously. The Class’ interests will be fairly and adequately protected by Plaintiffs and their

   counsel.

          167.    Declaratory Relief. Rule 23(b)(2) of the Federal Rules of Civil Procedure: Honda

   has acted or refused to act on grounds generally applicable to Plaintiffs and Class members, thereby

   making appropriate declaratory relief, with respect to each Class as a whole.

          168.    Superiority. Rule 23(b)(3) of the Federal Rules of Civil Procedure: A class action

   is superior to any other available means for the fair and efficient adjudication of this controversy,

   and no unusual difficulties are likely to be encountered in the management of this class action.

   The damages or other financial detriment suffered by Plaintiffs and Class members are relatively

   small compared to the burden and expense that would be required to individually litigate their

   claims against Honda, so it would be impracticable for Class members to individually seek redress

   for Honda’s wrongful conduct. Even if Class members could afford individual litigation, the court

   system could not. Individualized litigation creates a potential for inconsistent or contradictory

   judgments, and increases the delay and expense to all parties and the court system. By contrast,

   the class action device presents far fewer management difficulties and provides the benefits of

   single adjudication, economy of scale, and comprehensive supervision by a single court.


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                                            VIII. CLAIMS

           A.      Claims Brought on Behalf of the Nationwide Class



                                  FRAUDULENT CONCEALMENT

           169.    Plaintiffs reallege and incorporate by reference all preceding allegations as though

   fully set forth herein.

           170.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class under

   the common law of fraudulent concealment, which is materially uniform in all states. In the

   alternative, Plaintiffs bring this claim on behalf of each State Class under the law of each state in

   which Plaintiffs and Class members purchased or leased the Class Vehicles.

           171.    Honda fraudulently concealed and suppressed material facts concerning the quality

   of the Class Vehicles and the existence of the Defect.

           172.    Despite advertising the Class Vehicles as safe, reliable, and being of high quality,

   Honda knew when it manufactured, marketed, and sold or leased the Class Vehicles that Class

   Vehicles suffered from a design and/or manufacturing defect that reduced the Class Vehicles’

   value and subjected the Class Vehicles to parasitic draining and that rendered the Class Vehicles

   unreliable and posed significant safety hazards to drivers.

           173.    Honda failed to disclose these facts to consumers at the time it manufactured,

   marketed, and sold or leased the Class Vehicles and Honda knowingly and intentionally engaged

   in this concealment in order to boost sales and revenue, maintain its competitive edge in the

   automobile market, and obtain windfall profit. Through its active concealment and/or suppression

   of these material facts, Honda sought to increase consumer confidence in the Class Vehicles, and



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   to falsely assure purchasers and lessors of the same that the Vehicles were of sound quality and

   that Honda was a reputable manufacturer that stands behind the automobiles it manufactures.

   Honda engaged in this behavior to protect its profits, avoid warranty replacements, avoid recalls

   that would impair the brand’s image, cost it money, and undermine its competitiveness in the

   automobile industry.

          174.    Plaintiffs and Class members were unaware, and could not reasonably discover on

   their own, that Honda’s representations were false and misleading, or that it had omitted material

   facts relating to the Class Vehicles.

          175.    Honda had a duty to disclose, rather than conceal and suppress, the full scope and

   extent of the Defect because:

                  (a)     Honda had exclusive or far superior knowledge of the Defect and

   concealment thereof;

                  (b)     the facts regarding the Defect and concealment thereof were known and/or

   accessible only to Honda;

                  (c)     Honda knew that Plaintiffs and Class members did not know about, or could

   not reasonably discover, the Defect and concealment thereof; and

                  (d)     Honda made representations and assurances about the qualities of the Class

   Vehicles, and about the existence of a repair for the Defect that were misleading, deceptive, and

   incomplete without the disclosure of the fact that the Class Vehicles suffered from a latent and

   inherent design and/or manufacturing defect.

          176.    These omitted and concealed facts were material because a reasonable consumer

   would rely on them in deciding to purchase or lease the Class Vehicles, and because they


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   substantially reduced the value of the Class Vehicles purchased or leased by Plaintiffs and Class

   members. Whether the Class Vehicles were defective, of sound quality, safe, reliable, and whether

   Honda stood behind such Vehicles, would have been an important factor in Plaintiffs’ and the

   Class members’ decisions to purchase or lease the Vehicles. Plaintiffs and Class members trusted

   Honda not to sell them vehicles that were defective and significantly overpriced.

          177.    Honda intentionally and actively concealed and suppressed these material facts to

   falsely assure consumers that their Class Vehicles were free from known defects, as represented

   by Honda and reasonably expected by consumers.

          178.    Plaintiffs and Class members were unaware of these omitted material facts and

   would have paid less for the Class Vehicles, or would not have purchased/leased them at all, if

   they had known of the concealed and suppressed facts. Plaintiffs and Class members did not

   receive the benefit of their bargain due to Honda’s fraudulent concealment. Plaintiffs’ and Class

   members’ actions in purchasing the Class Vehicles were justified. Honda was in exclusive control

   of the material facts, and such facts were not known or reasonably knowable to the public,

   Plaintiffs, or Class members.

          179.    Plaintiffs and Class members relied to their detriment upon Honda’s reputation,

   fraudulent misrepresentations, and material omissions regarding the quality, safety, and reliability

   of the Class Vehicles.

          180.    As a direct and proximate result of Honda’s deceit and fraudulent concealment,

   including its intentional suppression of true facts, Plaintiffs and Class members suffered injury.

   They purchased and leased Class Vehicles that had a diminished value by reason of Honda’s




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   concealment of, and failure to disclose, the Defect. Plaintiffs and Class members also paid

   substantial money to (unsuccessfully) repair the Defect.

           181.    Accordingly, Honda is liable to the Nationwide Class and/or State Classes for their

   damages in an amount to be proven at trial.

           182.    On information and belief, Honda has still not made full and adequate disclosure

   and continues to defraud Plaintiffs and Class members. Honda also continues to conceal material

   information regarding the Defect.

           183.    Honda’s acts were done deliberately, with intent to defraud, and in reckless

   disregard of Plaintiffs’ and the Class members’ rights. Honda’s conduct warrants an assessment

   of punitive damages in an amount sufficient to deter such conduct in the future, which amount is

   to be determined according to proof.



                                       UNJUST ENRICHMENT

           184.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           185.    Plaintiffs bring this cause of action on behalf of themselves and the Nationwide

   Class under the common law of unjust enrichment, which is materially uniform in all states. In

   the alternative, Plaintiffs bring this claim on behalf of each State Class under the law of each state

   in which Plaintiffs and Class members purchased or leased Class Vehicles.

           186.    Plaintiffs bring this claim as an alternative to the contractual warranty claims

   asserted below and in the event that Plaintiffs prevail on their claims that any contract with Honda

   (including any express warranty) was fraudulently induced and/or Plaintiffs prevail in proving that



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   the warranties cannot be enforced by Honda due to Honda having provided the warranties only

   after entering into a contract with a purchaser or lessor, or due to Honda’s intentional and deceptive

   efforts to conceal the Defect and avoid its warranty obligations.

           187.    Honda has received millions in revenue from the sale of the Class Vehicles.

           188.    This revenue was a benefit conferred upon Honda by Plaintiffs and Class members,

   individuals living across the United States.

           189.    Honda manufactured, marketed, and sold defective Class Vehicles to Plaintiffs and

   Class members, while actively concealing the vehicles’ known defects and touting their quality,

   safety, and reliability.

           190.    Honda benefitted from selling defective cars for more money than they were worth,

   at a profit, and Plaintiffs have overpaid for the cars and, in some instances, been forced to pay to

   (unsuccessfully) repair the Defect.

           191.    Plaintiffs and Class members elected to purchase or lease the Class Vehicles based

   on Honda’s misrepresentations, deception, and omissions. Honda knew and understood that it

   would (and did) receive a financial benefit, and voluntarily accepted the same, from Plaintiffs and

   Class members when they elected to purchase or lease the Class Vehicles.

           192.    The Class Vehicles’ defect, and Honda’s concealment of the same, enriched Honda

   beyond its legal rights by securing through deceit and falsehood millions of dollars in revenues.

           193.    Therefore, because Honda will be unjustly enriched if it is allowed to retain the

   revenues obtained through falsehoods, deception, and misrepresentations, Plaintiffs and each Class

   member are entitled to recover the amount by which Honda was unjustly enriched at his or her

   expense.


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           194.    Accordingly, Plaintiffs, on behalf of themselves and each Class member, seek

   damages against Honda in the amounts by which it has been unjustly enriched at Plaintiffs’ and

   each Class member’s expense, and such other relief as this Court deems just and proper.



             VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                      (CAL. BUS. & PROF. CODE §17200, ET SEQ.)

           195.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           196.    California’s Unfair Competition Law (“UCL”), Business and Professions Code

   §17200, prohibits any “unlawful, unfair, or fraudulent business act or practices.”

           197.    In the course of its business, Honda violated the UCL by engaging in the following

   unlawful, fraudulent, and unfair business acts and practices:

                   (a)    selling and leasing the Class Vehicles to Plaintiffs and Class members with

   knowledge that the design and/or production processes, including the electrical system, used in

   Class Vehicles was defective, and intentionally concealing the Defect from Plaintiffs and Class

   members;

                   (b)    marketing the Class Vehicles as defect-free and making affirmative

   representations regarding the quality of the Class Vehicles and the quality and benefits of the

   design and/or production processes, including the safety, reliability, and quality of the Class

   Vehicles; and

                   (c)    violating California statutory and common law prohibiting false

   advertising, fraudulent concealment, and breach of express warranty.




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           198.    Honda’s scheme and concealment of the true characteristics of the Class Vehicles

   were material to Plaintiffs and Class members, and Honda misrepresented, concealed, or failed to

   disclose the truth with the intention that Plaintiffs and the Class members would rely on the

   misrepresentations, concealments, and omissions. Had they known the truth, Plaintiffs and the

   Class members would not have purchased or leased the Class Vehicles, or would have paid

   significantly less for them.

           199.    Plaintiffs and Class members suffered ascertainable loss and actual damages as a

   direct and proximate result of Honda’s misrepresentations and its concealment of and failure to

   disclose material information.

           200.    Pursuant to CAL. BUS. & PROF. CODE §17200, Plaintiffs and Class members seek

   any such orders or judgments as may be necessary to restore to Plaintiffs and Class members any

   money acquired by unfair competition, including restitution and/or restitutionary disgorgement, as

   provided in CAL. BUS. & PROF. CODE §§17203 and 3345, and any other just and proper relief

   available under the UCL.



                        VIOLATIONS OF THE CALIFORNIA CONSUMER
                                 LEGAL REMEDIES ACT
                              (CAL. CIV. CODE § 1750, ET SEQ.)

           201.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           202.    The Class Vehicles are “goods” as defined in CAL. CIV. CODE §1761(a).




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          203.    Plaintiffs and the California Class members are “consumers” as defined in CAL.

   CIV. CODE §1761(d). Plaintiffs, Class members, and Honda are “persons” as defined in CAL. CIV.

   CODE §1761(c).

          204.    California’s Consumers Legal Remedies Act (“CLRA”), CAL. CIV. CODE §1750, et

   seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices

   undertaken by any person in a transaction intended to result or which results in the sale or lease of

   goods or services to any consumer.”

          205.    In the course of its business, Honda violated the CLRA by knowingly

   misrepresenting and/or intentionally concealing material facts regarding the quality of the Class

   Vehicles and the existence of the Defect. Specifically, in marketing, offering for sale/lease, and

   selling/leasing the defective Class Vehicles, Honda violated the following enumerated provisions

   of the CLRA:

                  (a)     CAL. CIV. CODE §1770(a)(5): Representing that goods have sponsorship,

   approval, characteristics, uses, benefits, or quantities which they do not have;

                  (b)     CAL. CIV. CODE §1770(a)(7): Representing that goods are of a particular

   standard, quality, or grade, if they are of another;

                  (c)     CAL. CIV. CODE §1770(a)(9): Advertising goods with intent not to sell them

   as advertised; and

                  (d)     CAL. CIV. CODE §1770(a)(16): Representing that goods have been supplied

   in accordance with a previous representation when they have not.

          206.    Honda’s scheme and concealment of the true characteristics of the Class Vehicles

   were material to Plaintiffs and Class Members, and Honda misrepresented, concealed, or failed to


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   disclose the truth with the intention that Plaintiffs and Class Members would rely on the

   misrepresentations, concealments, and omissions. Had they known the truth, Plaintiffs and Class

   members would not have purchased or leased the Class Vehicles, or would have paid significantly

   less for them.

          207.      Plaintiffs and Class members had no way of discerning that Honda’s

   representations were false and misleading, or otherwise learning the facts that Honda had

   concealed or failed to disclose.

          208.      Honda had an ongoing duty to Plaintiffs and Class members to refrain from unfair

   and deceptive practices under the CLRA in the course of its business. Specifically, Honda owed

   Plaintiffs and Class members a duty to disclose all the material facts concerning the Class Vehicles

   because it possessed exclusive knowledge, it intentionally concealed such material facts from

   Plaintiffs and Class members, and/or it made misrepresentations that were rendered misleading

   because they were contradicted by withheld facts.

          209.      Plaintiffs and Class members suffered ascertainable loss and actual damages as a

   direct and proximate result of Honda’s concealment, misrepresentations, and/or failure to disclose

   material information.

          210.      Plaintiffs and Class members are entitled to recover actual and punitive damages

   under the CLRA pursuant to CAL. CIV. CODE §1780(a), and an additional award of up to $5,000

   to each Plaintiff and Class member who is a “senior citizen.”

          211.      On May 28, 2021, a notice letter was sent on behalf of Plaintiffs and the Class to

   Honda pursuant to CAL. CIV. CODE §1782(a) seeking equitable relief. If Honda fails to remedy its




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   unlawful conduct within the requisite time period, Plaintiffs and the Class seek all damages and

   relief to which they are entitled.



                        VIOLATIONS OF THE FALSE ADVERTISING LAW
                           (CAL. BUS. & PROF. CODE §17500, ET SEQ.)

           212.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           213.    California Bus. & Prof. Code §17500 states:

           It is unlawful for any . . . corporation . . . with intent directly or indirectly to dispose
           of real or personal property . . . to induce the public to enter into any obligation
           relating thereto, to make or disseminate or cause to be made or disseminated . . .
           from this state before the public in any state, in any newspaper or other publication,
           or any advertising device, . . . or in any other manner or means whatever, including
           over the Internet, any statement . . . which is untrue or misleading, and which is
           known, or which by the exercise of reasonable care should be known, to be untrue
           or misleading.

           214.    Honda caused to be made or disseminated through California and the United States,

   through advertising, marketing, and other publications, statements that were untrue or misleading,

   and which were known, or which by the exercise of reasonable care should have been known to

   Honda, to be untrue and misleading to consumers, including Plaintiffs and Class members.

           215.    Honda has violated CAL. BUS. & PROF. CODE §17500 because the

   misrepresentations and omissions regarding the quality, safety, and reliability of the Class Vehicles

   and the Defect contained in Class Vehicles as well as the associated safety risks and repair costs

   that result from it as set forth in this Complaint were material and likely to deceive a reasonable

   consumer.




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          216.    Honda has also violated CAL. BUS. & PROF. CODE §17500 because the

   misrepresentations and omissions regarding the existence of a repair for the Defect and

   Defendant’s ability and intention to render such a repair as set forth in this Complaint were material

   and likely to deceive a reasonable consumer.

          217.    Plaintiffs and Class members have suffered an injury in fact, including the loss of

   money or property, as a result of Honda’s unfair, unlawful, and/or deceptive practices. In

   purchasing or leasing their Class Vehicles, Plaintiffs and Class members relied on the

   misrepresentations and/or omissions of Honda with respect to the quality, safety, and reliability of

   the Class Vehicles as well as the existence of a repair for the Defect. Honda’s representations

   turned out to be false because as a result of the Defect that could result in battery failure, stalling

   while operating the vehicle under normal driving conditions, and the failure of essential safety

   features, the Class Vehicles are unsafe, unreliable, and not of high quality. Additionally, no

   permanent and reliable repair exists for the Defect. Had Plaintiffs and Class members known this,

   they would not have purchased or leased their Class Vehicles and/or paid as much for them.

   Accordingly, Plaintiffs and Class members overpaid for their Class Vehicles and did not receive

   the benefit of their bargain.

          218.    All of the wrongful conduct alleged herein occurred, and continues to occur, in the

   conduct of Honda’s business. Honda’s wrongful conduct is part of a pattern or generalized course

   of conduct that is still perpetuated and repeated, both in the State of California and nationwide.

          219.    Plaintiffs, individually and on behalf of the Class, request that this Court enter such

   orders or judgments as may be necessary to restore to Plaintiffs and Class members any money




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   Honda acquired by unfair competition, including restitution and/or restitutionary disgorgement

   and for such other relief as may be appropriate.



                                BREACH OF EXPRESS WARRANTY
                               (CAL. COM. CODE §§2313 AND 10210)

           220.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           221.    Honda is and was at all relevant times a “merchant” with respect to the Class

   Vehicles under CAL. COM. CODE §§2104(1) and 10103(c), and a “seller” of the Class Vehicles

   under §2103(1)(d).

           222.    With respect to leases, Honda is and was at all relevant times a “lessor” of motor

   vehicles under CAL. COM. CODE §10103(a)(16).

           223.    The Class Vehicles are and were at all relevant times “goods” within the meaning

   of CAL. COM. CODE §§2105(1) and 10103(a)(8).

           224.    In connection with the purchase or lease of all Class Vehicles, and as detailed

   above, Honda provided Plaintiffs and Class members with the express warranties described above

   in paragraphs 139-141.

           225.    Honda’s warranties formed a basis of the bargain that was reached when Plaintiffs

   and Class members purchased or leased their Class Vehicles.

           226.    Honda breached its express warranties (including the implied covenant of good

   faith and fair dealing) by: (a) knowingly providing Plaintiffs and Class members with Class

   Vehicles containing a Defect that was never disclosed to Plaintiffs and Class members; (b) failing




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   to repair or replace the Class Vehicles at no cost within the warranty periods; and (c) supplying

   products and materials that failed to conform to the representations made by Honda.

          227.    Plaintiffs and Class members have given Honda a reasonable opportunity to cure

   its breaches of express warranty or, alternatively, were not required to do so because such an

   opportunity would be unnecessary and futile given that the repairs or replacements offered by

   Honda can neither cure the defect in the Class Vehicles nor resolve the incidental and

   consequential damages flowing therefrom.

          228.    Thus, Honda’s warranties fail of their essential purpose, and the recovery of

   Plaintiffs and Class members is not limited to their remedies.

          229.    Accordingly, Plaintiffs and Class members assert as additional and/or alternative

   remedies, the revocation of acceptance of the goods and the return to Plaintiffs and Class members

   of the purchase or lease price of all Class Vehicles currently owned and leased, and for such other

   incidental and consequential damages as allowed.

          230.    As a direct and proximate result of Honda’s breach of its express warranty,

   Plaintiffs and Class members have been damaged in an amount to be determined at trial.

          231.    Honda was provided notice of the issues raised in this Count and this Complaint,

   as detailed above.




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           B.      Claims Brought on Behalf of the Florida Class

                                        FLORIDA COUNT I

                              VIOLATION OF FLORIDA’S UNFAIR
                             & DECEPTIVE TRADE PRACTICES ACT
                                 (FLA. STAT. §501.201, ET SEQ.)

           232.    Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           233.    Plaintiffs Andre Cruz, Mitchell Bryon Pazanki, Dayane Tessinari, and Fernanda

   Nunes Ferreira (for the purposes of this section, “Plaintiffs”) bring this claim on behalf of

   themselves and the Florida Class.

           234.    Plaintiffs and the Florida Class members are “consumers” within the meaning of

   FLA. STAT. §501.203(7).

           235.    Honda is engaged in “trade” or “commerce” within the meaning of FLA. STAT.

   §501.203(8).

           236.    The Florida Deceptive and Unfair Trade Practices Act (“Florida DUTPA”) makes

   unlawful “[u]nfair methods of competition, unconscionable acts or practices, and unfair or

   deceptive acts or practices in the conduct of any trade or commerce.” FLA. STAT. §501.204(1).

           237.    In the course of its business, Honda violated the Florida DUTPA by knowingly

   misrepresenting and/or intentionally concealing material facts regarding the quality, safety and

   reliability of the Class Vehicles, including the existence of the Defect, and the existence of a

   permanent and reliable repair for the Defect. Specifically, in marketing, offering for sale/lease,

   and selling/leasing the defective Class Vehicles, Honda engaged in one or more of the following

   unfair or deceptive acts or practices prohibited by FLA. STAT. §501.204(1):



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                  (a)     representing that the Class Vehicles have characteristics or benefits that

   they do not have;

                  (b)     representing that the Class Vehicles are of a particular standard and quality

   when they are not;

                  (c)     advertising the Class Vehicles with the intent not to sell them as advertised;

                  (d)     engaging in other conduct which created a likelihood of confusion or of

   misunderstanding; and/or

                  (e)     using or employing deception, fraud, false pretense, false promise or

   misrepresentation, or the concealment, suppression, or omission of a material fact with intent that

   others rely upon such concealment, suppression, or omission, in connection with the advertisement

   and sale or lease of the Class Vehicles.

          238.    Honda’s scheme and concealment of the true characteristics of the Class Vehicles

   were material to Plaintiffs and the Florida Class, and Honda misrepresented, concealed, or failed

   to disclose the truth with the intention that Plaintiffs and the Florida Class would rely on the

   misrepresentations, concealments, and omissions. Had they known the truth, Plaintiffs and the

   Florida Class would not have purchased or leased the Class Vehicles, or would have paid

   significantly less for them.

          239.    Plaintiffs and the Florida Class members had no way of discerning that Honda’s

   representations were false and misleading, or otherwise learning the facts that Honda had

   concealed or failed to disclose.

          240.    Honda had an ongoing duty to Plaintiffs and the Florida Class members to refrain

   from unfair and deceptive practices under the Florida DUTPA in the course of its business.


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   Specifically, Honda owed Plaintiffs and the Florida Class members a duty to disclose all the

   material facts concerning the Class Vehicles because it possessed exclusive knowledge, it

   intentionally concealed such material facts from Plaintiffs and the Florida Class members, and/or

   it made misrepresentations that were rendered misleading because they were contradicted by

   withheld facts.

           241.      Plaintiffs and the Florida Class members suffered ascertainable loss and actual

   damages as a direct and proximate result of Honda’s concealment, misrepresentations, and/or

   failure to disclose material information.

                                          FLORIDA COUNT II

                                 BREACH OF EXPRESS WARRANTY
                                  (FLA. STAT. §§672.313 AND 680.21)

           242.      Plaintiffs reallege and incorporate by reference paragraphs 1-168 as though fully

   set forth herein.

           243.      Plaintiffs Andre Cruz, Mitchell Bryon Pazanki, Dayane Tessinari, and Fernanda

   Nunes Ferreira (for the purposes of this section, “Plaintiffs”) bring this claim on behalf of

   themselves and the Florida Class.

           244.      Honda is and was at all relevant times a “merchant” with respect to the Class

   Vehicles under FLA. STAT. §§672.104(1) and 680.1031(3)(k), and a “seller” of the Class Vehicles

   under §672.103(1)(d).

           245.      With respect to leases, Honda is and was at all relevant times a “lessor” of motor

   vehicles under FLA. STAT. §680.1031(1)(p).

           246.      The Class Vehicles are and were at all relevant times “goods” within the meaning

   of FLA. STAT. §§672.105(1) and 680.1031(1)(h).


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          247.    In connection with the purchase or lease of all Class Vehicles, and as detailed

   above, Honda provided Plaintiffs and the Florida Class members with express warranties as

   described above in paragraphs 139-141.

          248.    Honda’s warranties formed a basis of the bargain that was reached when Plaintiffs

   and the Florida Class members purchased or leased their Class Vehicles.

          249.    Honda breached its express warranties (including the implied covenant of good

   faith and fair dealing) by: (a) knowingly providing Plaintiffs and the Florida Class members with

   Class Vehicles containing defects in the materials and workmanship that were never disclosed to

   Plaintiffs and the Florida Class members; (b) failing to repair or replace the Class Vehicles at no

   cost within the warranty periods; and (c) supplying products and materials that failed to conform

   to the representations made by Honda.

          250.    Plaintiffs and the Florida Class members have given Honda a reasonable

   opportunity to cure its breaches of express warranty or, alternatively, were not required to do so

   because such an opportunity would be unnecessary and futile given that the repairs or replacements

   offered by Honda can neither cure the defect in the Class Vehicles nor resolve the incidental and

   consequential damages flowing therefrom.

          251.    Thus, Honda’s warranties fail of their essential purpose, and the recovery of

   Plaintiffs and the Florida Class members is not limited to their remedies.

          252.    Accordingly, Plaintiffs and the Florida Class members assert as additional and/or

   alternative remedies, the revocation of acceptance of the goods and the return to Plaintiffs and the

   Florida Class members of the purchase or lease price of all Class Vehicles currently owned and

   leased, and for such other incidental and consequential damages as allowed.


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            253.   As a direct and proximate result of Honda’s breach of its express warranty,

   Plaintiffs and the Florida Class members have been damaged in an amount to be determined at

   trial.

            254.   Honda was provided notice of the issues raised in this Count and this Complaint,

   as detailed above.

                                      IX.     PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, individually and on behalf of the members of the Nationwide

   and State Classes, respectfully request that the Court certify the proposed Nationwide and State

   Classes, including designating the named Plaintiffs as representatives of the Nationwide Class and

   the State Classes and appointing the undersigned as Class Counsel, and the designation of any

   appropriate issue classes, under the applicable provisions of Fed. R. Civ. P. 23, and that the Court

   enter judgment in Plaintiffs’ favor and against Honda including the following relief:

                   A.        A declaration that any applicable statutes of limitations are tolled due to

   Honda’s fraudulent concealment and that Honda is estopped from relying on any statutes of

   limitations in defense;

                   B.        Restitution, compensatory damages, and costs for economic loss and out-

   of- pocket costs;

                   C.        Punitive and exemplary damages under applicable law;

                   D.        Reimbursement and compensation of the full purchase price for any repairs

   or replacements purchased by a Plaintiffs or Class member to remedy the Defect;

                   E.        A determination that Honda is financially responsible for all Class notices

   and the administration of Class relief;



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                   F.      Any applicable statutory or civil penalties;

                   G.      An order requiring Honda to pay both pre-judgment and post-judgment

   interest on any amounts awarded;

                   H.      An award of reasonable counsel fees, plus reimbursement of reasonable

   costs, expenses, and disbursements, including reasonable allowances for the fees of experts;

                   I.      Leave to amend this Complaint to conform to the evidence produced in

   discovery and at trial; and

                   J.      Any such other and further relief the Court deems just and equitable.

                                  X.      DEMAND FOR JURY TRIAL

           255.    Plaintiffs and Class members hereby demand a trial by jury, pursuant to Fed. R.

   Civ. P. 38(b), of all issues so triable.

    DATED: May 28, 2021                             Respectfully submitted,

                                                    ROBBINS GELLER RUDMAN
                                                     & DOWD LLP


                                                                  s/ Mark J. Dearman
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